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                   Exhibit B
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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION


IN RE: DEEPWATER HORIZON                                    Case No. 3:19cv963-MCR-
                                                    HTC
BELO CASES
                                                            Judge M. Casey Rodgers
                                                            Magistrate Judge Gary
                                                            Jones

This Document relates to all cases
________________________________________________/


December 2, 2019

Craig T.Downs, Esq.
3250 Mary Street, Suite 307
450-E
Coconut Grove, FL 33133

Re: General Causation Report BELO plaintiffs Northern District of Florida:
Michael Turner, Bryant Hand, Dorothy Lynn Hill, James Cooper, Dewayne Veasey,
Derrick Lee

Dear Mr. Downs:

    I have reviewed the scientifically documented evidence in the literature and published
testing data to verify the toxicants of concern and published health effects for this
General Causation Report. All statements contained herein are true and correct and based
upon my personal knowledge, education, and experience and I am a person of full age of
majority, competent to execute this expert witness report. Enclosed please find the
preliminary findings and opinions based upon this preliminary work.

Section 1.0 – Expert Witness Qualifications

1.1 My qualifications as expert witness include the following:

Summary of expert qualifications:

Board certification: Diplomate of the American Board of Toxicology 2006-2011;
2012-2016, 2017-2021
Tulane University, School of Medicine, Department of Anatomy, Ph.D., 1983.
   Major: Anatomy; Minor: Biochemistry



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Louisiana State University in Baton Rouge; M.S. in Microbiology, 1975
Louisiana State University in Baton Rouge; B.S. in Medical Technology, 1966
Clinical Laboratory Scientist-Generalist, Louisiana License Number: G00023
Laboratory Director – CLIA Certification 19D0898394 (1993-2005)
Board certified by the American Society of Clinical Pathologists, 1966, #56466

     I am board-certified in Toxicology and a Diplomate of the American Board of
Toxicology. Currently, I serve as President of Environmental Toxicology Experts, LLC,
my company formed for consulting and expert witnessing services since 2005. I have
served as expert witness in toxic tort litigation and drug and alcohol hearings and
litigation for over 25 years in Federal and State Courts, and Workers’ Compensation
hearings in Louisiana, Mississippi, Texas, Florida, California, and West Virginia.

   From 2005 to 2017, I also served as a tenured Associate Professor and Coordinator
for Toxicology Research Laboratories of the Pontchartrain Institute for Environmental
Sciences, University of New Orleans. In that capacity, I was also responsible for
teaching courses in Toxicology to Graduate and Undergraduate students. I taught the
following courses: Toxicology and Human Health, Ecotoxicology, Toxicology of
Coastal Organisms, Environmental Toxicology, Toxicology of Metals, Reproductive and
Developmental Toxicology, Embryology and Developmental Toxicology, Clinical and
Forensic Toxicology, Toxicology of Herbal Products and Dietary Supplements,
Independent Research Courses in Toxicology, and Histology and Cytology.

    From 1993 to 2005, I served for twelve years as Associate Professor of Medicine and
the Director of the Occupational Toxicology Outreach Program of the Department of
Medicine of the LSU Medical Center in Shreveport. In that capacity, I surveyed or
evaluated over 17,000 workers or community members with occupational or
environmental toxic exposures for adverse symptoms and health effects of such
exposures. Environmental symptom surveys as well as disease/cancer histories were
taken on each of these 17,000 workers to identify sources of environmental exposures.
Additionally I assisted physicians in identifying the environmental and occupational
etiology of diseases and cancers using the Environmental history survey (Patricia M
Williams work product) which assessed symptoms and adverse health effects along with
lifestyle, occupational, and environmental exposures. I was a tenured Associate
Professor of Medicine of the Department of Medicine of LSU Medical School in
Shreveport. Additionally, I served as the Laboratory Director of an in-house CLIA-
certified research laboratory for Medical Surveillance for adverse health effects of
chemical exposure. In this capacity, I was responsible for identifying the laboratory
parameters that are clinical indicators of environmental and occupational toxic exposure
and for the interpretation of the laboratory parameters to the attending physicians. I am
licensed by the State of Louisiana and certified by the American Society for Clinical
Pathologists and meet the requirements of federal law, specifically, the Clinical
Laboratory Improvement Act, to serve as the Laboratory Director. I have been certified
and have had work experience in the performance and interpretation of clinical laboratory
procedures for over forty years.




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   From 1985 to 1992, my work experience includes serving as Associate Professor and
Department Head of Medical Technology, School of Allied Health Professions at LSU
Medical Centers in New Orleans and Shreveport for seven years. In that capacity, I was
responsible for the development, organization, administration, review, revision, and
direction of the educational program to train students at the baccalaureate and masters
levels in the performance and the interpretation of clinical laboratory procedures in the
areas of hematology, immunology, immunohematology, microbiology, parasitology,
urinalysis, clinical chemistry, toxicology, phlebotomy, and management. In that
capacity, I also designed and taught courses in the various areas of clinical pathology to
cytotechnology students, pathology residents, and maxillo-facial surgery dental residents,
as well as medical students. I also developed an in-house departmental clinical
practicum, which was nationally accredited, in the performance and interpretation of
laboratory procedures. This clinical practicum substituted for six months of the required
hospital training program in the various areas of clinical pathology for the baccalaureate
students.

   By virtue of my doctoral degree in Anatomy, I have extensive training and teaching in
the areas of gross anatomy, medical histology, embryology, neuroscience, and cell
biology. I have a minor in biochemistry at the doctoral level with doctoral research in the
areas of hematology, specifically megakaryocytopoiesis, thrombopoiesis, and
erythropoiesis, and the stem cell compartment. Also, I have graduate credit in
epidemiology from Tufts University New England Epidemiology Institute. I have
performed health profiles and epidemiologic studies in communities to identify the
evolution of disease in association with chemical exposure through the study of clinical
symptoms, diagnosed diseases, lifestyle and behavior factors. I have taught in numerous
HASMET (hazardous materials) conferences, workshops, and seminars for union
workers and industrial corporations. I have assisted numerous physicians in the
understanding of the etiology of occupational and environmental diseases and provided
Continuing Medical Education for physicians and Continuing Education programs for
Industrial Hygienists. I conducted disease prevention programs for workplace,
communities, homes, and schools including prevention of prostate cancer, inhalant abuse,
fetal alcohol syndrome, alcohol toxicity, and abuse of drugs and alcohol.

    I lectured to second year medical students at LSU Medical Center in Shreveport on
the “Environmental Etiology of Disease”, which includes: recognizing the adverse health
patterns commonly observed in chemically associated diseases, the multifactorial nature
of disease, effects of chemical interactions in a mixture, dose-response, and the cellular
effects of DNA reactive carcinogens.

     I was commissioned to conduct a health assessment and medical surveillance using
laboratory procedures of the people of Grand Bois who reside next to a Non-hazardous
oilfield waste site that received shipments of Benzene-contaminated wastes that were
ordered removed from an out-of- state facility because of the toxic nature of the wastes.
The preliminary results of this study resulted in announcement of funding provided from
the Department of Health and Hospitals budget by the then Governor of Louisiana, Mike
Foster, for an additional medical surveillance research project of which I was designated



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the Principal Investigator. Internal Review Board approval from the LSU Medical Center
in Shreveport was granted for the conduct of both research studies. Soon thereafter, the
Louisiana Legislature granted an additional funding amount of $100,000 in the 1998
Legislative Session for additional medical surveillance of the adults and children of
Grand Bois for the 1998-1999 fiscal year. This study was not related to litigation and
was an independent research project. The results of this study are located in all of the
State Libraries throughout Louisiana. It consists of two volumes: Volume 1 consists of a
“Retrospective Study of Health Effects of the Grand Bois Community” utilizing a health
survey for data collection. Volume 2 consists of a one year medical surveillance project
with the performance of clinical laboratory procedures that would serve as indicators of
developing disease or indicators of abnormalities of concern with the potential for future
disease development. As laboratory director under Federal Law, specifically the Clinical
Laboratory Improvement Amendments Subpart A Section 493, I was responsible for
ensuring that my consultation was available to the laboratory clients for the interpretation
of the test results reported concerning specific patient conditions. (pg. 7176, Federal
Register, vol 57, No. 40, Friday, February 28, 1992)

    I have performed health profiles and epidemiologic studies in communities to identify
the evolution of disease in association with chemical exposure through the study of
clinical symptoms, diagnosed diseases, lifestyle and behavior factors. In the Combustion
litigation of Livingston Parish in Louisiana, I served as the expert witness for a
population of 10,000 who had exposures to benzene and other toxic chemicals.
Leukemias and Neuroblastomas were prominent among the adverse consequences of
chemical exposure. Another case of 4,000 individuals, in the Thompson Hayward Case
in Orleans Parish of Louisiana, involved pesticide exposure. I examined the reproductive
health outcomes from chemical exposure, which included spontaneous abortions,
stillbirths, live births with short survival time, and children with birth defects and mothers
with multiple children with birth defects. In the Lincoln Creosote case in Bossier Parish
of Louisiana, I examined a population exposed to Benzene, creosote, Pentachlorophenol,
Toluene, Styrene, and other toxic compounds. Leukemias, reproductive cancers, and
birth defects were prominent among the adverse consequences of the toxic exposure in
the Lincoln Creosote case. Two Worker Compensation cases and six toxic tort suits,
with single and multiple person complainants/plaintiffs, in which I served as Expert
Witness involved benzene-related hematologic malignancies.

    I have conducted doctoral research on stem cell precursors for erythrocytic and
megakaryocytic cell lineages. My doctoral research included characterization of
megakaryocytopoiesis under the hormonal influence of thrombopoietin and the
development of an in vitro assay for thrombopoietin. This was a study of stem cell
precursors of the megakaryocytic cell line that differentiates into the mature cells that
produce blood platelets. Further doctoral research included the immunocytochemical
localization of erythropoietin receptors on the cell surface of early erythrocytic precursors
at the ultrastructural level. For this research, I received the Arceneaux Memorial Award
in Recognition of Outstanding Student Research in Electron Microscopy in May of 1981.
I have conducted funded research by the American Heart Association on the development
of an assay for thrombopoietin and an additional grant for the characterization of



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megakaryocytopoiesis. I conducted funded research from the American Cancer Society
on an immunocytochemical characterization of skin biopsies in the diagnosis of human
acute Graft-versus-Host Disease in Leukemia. The American Heart Association further
funded my research for the Isolation and Characterization of 4N and 8N Megakaryocytes.
I served as a consultant to Karel A. Dicke, M.D., chief oncologist and Director of the
Bone Marrow Transplantation Unit at M.D. Anderson Hospital for electron microscopic
evaluation of in vitro chemotherapeutic treatment for autologous bone marrow
transplantation therapeutic techniques. I have written, developed, and taught numerous
courses and lectures in Hematology and Immunology to students at the associate,
baccalaureate, and masters levels, as well as, medical students, pathology residents, and
maxillo-facial surgery residents. I am qualified by both State and Federal Law to
perform and interpret clinical laboratory procedures in the areas of hematology and
immunology. I am further qualified by Federal Law (CLIA-Clinical Laboratory
Improvement Act) to serve as a Laboratory Director for all levels of complexity in the
interpretation of laboratory procedures, which include hematology and immunology. I
served as the Laboratory Director of an in-house medical surveillance laboratory for ten
years and have interpreted hematological parameters in a population of residents exposed
to benzene and other toxic substances. I have also served as principal investigator in a
project to screen for Lupus Erythrematosus, an autoimmune disease of the
hematologic/immunologic systems of the body.

      In the area of Forensic Drug Testing, I have served as an expert witness and
consultant on collection of specimens, chain of custody, and drug-testing in the
workplace to numerous clients, including the Department of Education, School Boards,
Unions, Medical Care Corporations, municipalities, the State of Louisiana, and private
entities, and served as consultant to a collection company for collection of forensic urine
and blood specimens and, in that capacity, designed and oversaw the administration of
chain of custody and collection procedures. Furthermore, I have served as expert witness
in drug-testing litigation in State Court, Workman’s Compensation and Unemployment
compensation hearings, arbitration hearings, and criminal court as expert witness for the
prosecution. I have served as expert witness in numerous legislative committees on the
subject of drug-testing and minimal guidelines for collection and testing of forensic
specimens. I drafted the bill for Louisiana Act 1036 of the 1990 Legislative Session
establishing minimal guidelines for collection of forensic specimens and drug-testing in
the State of Louisiana. Additionally, I drafted Act 396 of the 1993 Legislative Session
for Mandatory Licensure of Clinical Laboratory Personnel and Certification of
Phlebotomists in the State of Louisiana. I was the expert witness testifying for both bills
at the request of Senators and Representatives, the Commissioner of Administration, the
AFL-CIO, and the Louisiana State Society for Medical Technology during the course of
passage into Law by the Louisiana Legislature.

     As a Board-certified Diplomate of the American Board of Toxicology, I have
qualified, have the toxicology expertise, and have testified in civil and criminal cases on
the following: the mechanisms of action of prescription and illicit drugs and alcohol;
toxic effects of drugs and alcohol; signs of impairment of drugs and alcohol; mechanisms
for production of these signs in the body; temporal occurrence of the signs of impairment



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specific to each drug or alcohol; the absorption, distribution, and elimination of drugs and
alcohol; and peak plasma concentrations, biological half-lives, and elimination half-lives
for the specific drugs and alcohol. I have testified in numerous civil and criminal cases
as to the interpretation of impairment; and interpretation of the signs of intoxication and
impairment with and without the drug testing result analyses. I have served as the “pro
bono” expert witness for the prosecution for District Attorneys in the Parishes of Orleans,
Jefferson, East Baton Rouge, and St Landry Parishes. These cases have involved
interpretation of the following: drug and alcohol testing; calculation of blood
concentrations of alcohol at the time of the crash using established scientific
methodology; interpretation of impairment from the clinical signs of impairment specific
to each drug and or alcohol; interpretation of impairment from the clinical signs of
impairment specific to each drug or alcohol testing result; and interpretation of post-
mortem drug and alcohol testing as to impairment or toxicological cause of the death of
the deceased. I have testified in several trials with drug or alcohol matters including,
Murder II and Vehicular homicide. In these trials, I also gave interpretations of
impairment and the drug and/or alcohol cause of impairment; windows for the time of
death and toxicological cause of death from heroin; and back calculation of the alcohol
concentrations at the time of death using the Widmark equation, zero order kinetics, and
first order kinetics of alcohol metabolism. I have provided continuing education to the
Louisiana Assistant District Attorneys and Drug Recognition Experts officers in
Louisiana, the Louisiana State Police Crime Lab, Law Enforcement and DEA officers,
and the Family Law Section of the Louisiana Bar Association. Many of the
presentations were to teach the interpretation of the clinical signs of impairment including
Nystagmus; specific Cranial Nerve involvement in nystagmus and loss of visual acuity;
miosis (pupil constriction) and specific visual impairments; mydriasis (pupil dilation)
and specific visual impairments; temporality of blood shot eyes from marijuana use;
motion parallax and impairment of depth perception; vision tunneling; sedative-hypnotic
toxidrome of methadone; parasomnias of Zolpidem; tunnel vision of benzodiazepenes
(including alprazolam); driving impairment of benzodiazepenes expressed by Standard
Deviation of Lateral Position and Standard Deviation of Speed; CNS depression of
Heroin and clinical warning signs of imminent death, “Pharming” using over the counter
drugs and specific effects of impairment; CNS depressants; CNS stimulants
rhadomyolysis of cocaine toxicity; and post-mortem alcohol production. These same
topics and more are subjects of Dr. Williams’ expert witness reports and testimony in
both civil and criminal cases.

     By virtue of my educational, research, and work experience, I am qualified to
identify and interpret patterns of development of disease in association with toxic
exposure and to determine the etiology/causation of environmental and occupational
diseases. I am qualified to conduct community health assessments and interpret the
etiology/causation of environmental diseases and birth defects. I am qualified to identify
and interpret patterns of adverse reproductive outcomes, including fetal birth defects and
embryonal tumors, in association with toxic exposure. I am qualified to review the
scientific and medical literature, and medical and laboratory data associated with
occupational and environmental exposures and to interpret said data as to the
etiology/causation. I am qualified to perform and interpret medical surveillance utilizing



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laboratory procedures as to the development and causation of environmental and
occupational diseases. I am qualified to interpret the causation of hematological diseases
as related to environmental and occupational exposures.

   Additionally, I am qualified to interpret the role of contributing factors in the
development of cancer and birth defects. I have qualified as an expert in anatomy,
hematology, toxicology, medical surveillance utilizing laboratory procedures,
neuroanatomy, and performance and interpretation of health assessments of
environmentally exposed communities.

   In the areas of forensic drug testing, as a licensed Clinical Laboratory Scientist who is
board-certified by the American Society of Clinical Pathologists, I am qualified to
perform analytical testing for drugs, review and interpret medical and laboratory data,
including the phlebotomy, chain of custody, and accessioning techniques utilized in the
collection of medical and forensic drug specimens. As a toxicologist who is Board-
certified in toxicology by the American Board of Toxicology, I am qualified to opine on
the metabolism, biotransformation, and distribution of drugs, chemicals, and alcohol in
the body. I am further qualified to interpret drug testing results with impairment
correlation. Additionally, I testify for several District Attorneys in various Parishes in the
State of Louisiana for criminal prosecution in matters of drug and alcohol intoxication
and loss of life.

    As a Board-certified Clinical Laboratory Scientist (Board certified by the American
Society of Clinical Pathologists) who is licensed by the State of Louisiana and qualified
by both State and Federal Law to perform and interpret clinical laboratory procedures in
all areas of laboratory procedures at all levels of complexity, including the areas of
hematology and immunology, I am qualified to review, interpret, and propose medical
surveillance using laboratory procedures. I am further qualified by Federal Law (CLIA-
Clinical Laboratory Improvement Act) to serve as a Laboratory Director for all levels of
complexity in the interpretation of laboratory procedures, which include hematology and
immunology As a Board-Certified toxicologist holding the title of Diplomate of the
American Board of Toxicology, I am qualified to interpret these procedures as to the
resultant health effects of toxic chemicals. (4/12/18)

1.2 Methodology for the formation of an opinion on adverse health effects from toxic
exposure included the following scientifically accepted investigative techniques for
evaluation and causation of occupational and environmental diseases. This methodology
is published in the Reference Manual on Scientific Evidence 2nd edition and
3rd edition: Reference Guides on toxicology, epidemiology, and medical testimony.
The General and Specific Causation analysis includes review of the following
documents:

1. In addition to a review of the scientific literature, I have examined medical
   and laboratory records of the plaintiffs, health surveys of the plaintiffs, and
    facts revealed in discovery documents. I have personally interviewed the plaintiffs,
    and utilized established scientific methodology.



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2. The potential for a completed exposure pathway consisting of the five elements
    required by the EPA in investigation of superfund sites as published by Joseph
    LaDou, 1997: a source of contamination, an environmental medium, a point of
    exposure, route(s) of exposure, and a receptor person or population has been
    evaluated for the plaintiff’s exposures.
3. Chemical causation was evaluated using the published Points for Consideration in
    Causal Reasoning as published by Kenneth Rothman, Ph.D., based on and including
    the proposals of Bradford Hill in 1965.
4. The causal criterion for temporality (as first proposed by Bradford Hill in 1965)
    exists for the abnormal health effects.
5. Chemical causation was evaluated using the published diagnostic and
    investigative methods of Janette D. Sherman, M.D.
6. Biologic plausibility as defined by Bradford Hill M.D. and Kenneth Rothman, Ph.D.
    exists for the chemical exposure and the mechanism of development of the adverse
    health effects reported by the plaintiff.
7. Methods for causal reasoning in determining General and Specific Causation:
    in accordance with the Reference Manual on Scientific Evidence 2nd and 3rd editions:
    Reference Guides on toxicology, epidemiology, and medical testimony.
8. BELO Complaints of the plaintiffs
9. Medical records of the plaintiffs
10. Health surveys of the plaintiffs
11. Interviews of the plaintiffs

The following considerations are included in rendering a causal opinion:

An opinion of General Causation focuses on the question as to whether the toxic
agent is capable of causing disease, cancer, or other health effects. The following
considerations are included in rendering an opinion of General Causation and are
in accordance with the Methods for causal reasoning in determining General and
Specific Causation in accordance with the Reference Manual on Scientific Evidence
2nd and 3rd editions: Reference Guides on toxicology, epidemiology, and medical
testimony.

General Causation:

   Review of the Scientific Literature: Considerations of the following are made for
   General Causation of Disease or other Adverse Health Effects when reviewing the
   scientific literature:

            Strength of the Association of disease and exposure
                        • the higher the relative risk, the stronger the association and
                            the lower the probability that the effect is due to chance
            Consistency- Is there consistency-repeated observation of an association
                            in different populations
            Dose-response or biological gradients –are there dose-response
                            relationships or evidence of biological gradients (duration



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                           of employment; years since last employment, etc.) Are
                           there exposure measures that are applicable to the
                           exposures of the individual?
            Temporal –Is there a temporal relationship of disease to exposure
            Biologic Plausibility –Is the association biologically plausible
            Coherence-an association does not conflict with the natural history and
                           biology of the disease
            Experimental evidence

Narrative: The BELO complaints document non-cancerous diseases applicable for
the present six BELO cases: chronic conjunctivitis, chronic sinusitis, chronic rhinitis,
chronic dermatitis, and chronic rhinosinusitis. This General Causation report will
pertain only to the non-cancerous diseases. (PWilliams, PhD, DABT)


Section 2.0 Completed Exposure Pathways

    Actual exposure is effected only if there is a completed exposure pathway. A
completed exposure pathway consists of the following five elements: a source of
contamination, an environmental medium, a point of exposure, route(s) of exposure, and
a receptor population. (LaDou, 1997) Some of the exposure pathways that should be
considered include the following:

    Direct or incidental ingestion of contaminated surface water
    Incidental ingestion of contaminated soil and dust
    Incidental ingestion of contaminated soil, sediment, sand, dust, tar balls, and
         particles
    Inhalation of contaminants that volatilize from water
    Inhalation of contaminants that volatilize from soil and sand
    Inhalation of contaminants that volatilize from sediment, soil, sand, dust, tar balls,
         tar mats, contaminated boom, and particles
    Inhalation of contaminants in soil, sand, sediment, dust, tar balls, and particles
    Inhalation of contaminants in air
    Inhalation of contaminants in dust and particles
    Inhalation of contaminants in dispersants dropped on individual’s body in personal
        breathing zone during spraying of dispersants
    Inhalation of contaminants in dispersants during sifting or raking duties for clean-up
         that were dropped on sand and tar balls during spraying of dispersants
    Dermal absorption from contaminated surface water
    Dermal absorption from contaminated soil, sand, sediment, dust and particles
    Dermal absorption from contaminated tar balls and contaminated boom,
          contaminated clothing
    Dermal absorption from contaminated water
    Dermal absorption from contaminated soil
    Dermal absorption from contaminated air
    Dermal absorption from contact with dispersants/oiled sea turtles



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     Dermal absorption of contaminants in dispersants dropped on individual’s body
     Dermal absorption during sifting duties for clean-up of contaminants in dispersants
         dropped on sand and tar balls during spraying of dispersants
     Dermal absorption from direct contact with dispersants on or in tar balls and tar mats
     Dermal absorption from direct contact with dispersants on or in seaweed

NARRATIVE: These completed exposure pathways are derived from plaintiff
interviews and the published scientific literature.
    One plaintiff who worked from 6 pm to 6 am saw the planes coming at night and
dropping dispersants right on the coastline. The workers were sprayed with dispersants
in the process. The planes would make a circle and come back and drop dispersants
again. She asked for Personal Protective Equipment and never got it. She felt the
dispersants fall on her; they hit her in the face and eyes. The dispersants were dropped
on the sand and tar balls so that when they sifted for tar balls, they were breathing in
the dispersants. When she scooped up the tar balls, they looked crystallized with the
dispersants. When you put the tar balls in a bag or 5 gallon buckets, there was a lot of
dust that poofed up in her breathing zone. Large tar mats had to be broken up to put
them in buckets and crystal powder poofed up. The cloud of particles looked like a
white yellowish powder. She sifted the sand to get the small tar balls and the
dispersants poofed up into her breathing zone. The dust came up and got on her
clothes and skin. She also got oil and stuff on her arms. The beach clan-up was very
close to the water. She waded in the edge of the water and got wet; picked up solid tar
balls and seaweed. She saw dead turtles and picked them up and bagged them and
then buried them.
    Other plaintiffs recall seeing planes dropping dispersants and feeling the dispersant
particles dropping on their face and itching their faces.
    Another plaintiff that the tar balls that he picked up had crystal-like substance with
a silver color. He picked up seaweed from the water and beach and when he pulled it
out of the water, he noticed a powdery substance that was white poofing up in his
breathing zone. He did not wear a respirator, but asked for one and never got one.
The water that he waded in went a little over his knee; He had no waders provided to
him so he got his pants wet. His boots were from Walmart that went to his ankle so
water went into his boots. He saw oil on the water and got oil on his pants and on his
skin through his pants. He could smell the oil and it was a very strong odor. He had a
claw-like grab stick to grab the seaweed. When he moved the seaweed it poofed up a
white dust. He saw the planes spraying at the edge of the coast on the water about 200
feet out from the edge of the beach. The dispersant particles rained down on him. He
did not know what was going on. He did not have gloves in the beginning, then later
brought him thin latex gloves like surgical gloves and they broke a lot. He pulled off
the gloves from one hand with a contaminated glove and pulled off the remaining
contaminated glove with the bare hand that he had removed the glove from.
    Another plaintiff recalls that a machine was brought to the beach to shake the sand
and separate the oil. One day they got 800 gallon bags of oil from this process. Dust
was generated from this process. He wore gloves that were loose at the wrist and
allowed contaminants to go into the inside of the gloves. He got blisters under them.
He was not latex sensitive.



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   Another plaintiff raked the beach and used a shovel to dig for tar balls. Dust came
into her face from these activities.
   Other plaintiffs recall breathing in the dust particles from breaking up the tar mats
and picking up seaweed.
   Other plaintiffs recall cleaning contaminated booms with chemicals and washing
hands in the contaminated surface water.
   Other plaintiffs recall dermal exposure from oil on contaminated clothing.
   One non-worker resident of the beach recalls swimming in the contaminated water
and walking barefoot on the sandy beach.
(PWilliams, PhD, DABT)


Section 3.0 Characterization of Environmental Toxicants released/resulting from
the Deepwater Horizon Oil Spill.

3.1 Air Quality implications of the Deepwater Horizon oil spill

    Hydrocarbons (HCs) evaporating from oil that surfaced can affect air quality in three
ways. First, some of the measured compounds, including benzene, toluene, and
naphthalene, are classified as hazardous air pollutants. Second evaporating HCs reacted
in the atmosphere to produce lower volatility products that then form SOA (Secondary
Organic Aerosol) particles. Third, the HCs reacted with NOx and sunlight to form
secondary pollutants such as ozone and PAN (Peroxyacetyl nitrate). Approximately 4%
by mass of oil burned on the surface was emitted as soot particles. (Middlebrook, et al.,
2012)

    Particulate Matter (PM) and Aerosol Particles were formed either at the spill site or
downwind: SOA from the evaporating HCs and soot from the in situ burning of surface
oil or from recovery operations. The maximum measured increase in submicron
particulate (almost exclusively organic) mass downwind of the spill was 20 ug m-3 on
June 8 and 7 ug m-3 on June 10. The National Ambient Air Quality Standard (NAAQS)
for particulate matter less than 2.5 um in diameter is 15 ug m-3 for the annual average and
35 ug m-3 for the 24-hr average. Particles smaller than 1 um in diameter accounted for
most of the increased SOA mass downwind of the spill site. These particles can penetrate
into the lungs with potential health effects. (Middlebrook, et al., 2012)

    Results indicate that air quality is affected not only by direct emissions from the spill
and related operations but also by the reaction products in the atmosphere such as ozone
and SOA. In warm, sunny conditions most of the HCs observed from the DWH spill
have photochemical lifetimes of less than a few days before they react in the atmosphere.
In contrast, aerosol particulates typically survive for days in the lower atmosphere and it
is likely that SOA from the DWH site impacted aerosol levels in populated areas near the
Gulf Coast. (Middlebrook, et al., 2012)

    NOAA (National Oceanic and Atmospheric Administration) conducted two aircraft
flights to characterize the resulting air pollution in the Gulf of Mexico after the



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Deepwater Horizon (DWH) spill. On the 8th and 10th of June, 2010 one of NOAA WP-
3D aircraft, equipped with an extensive suite of in-situ chemical sensors was deployed
over the Gulf of Mexico in the vicinity and downwind of the DWH spill site. The major
findings from the flights are:
    1) The lower layer of the atmosphere (from the surface of the Gulf to ~2000 ft),
       which effectively traps most of the air pollution emitted from the surface, was
       polluted with organics from the spill and the products of their atmospheric
       chemical processing.
    2) The sum of the measured aromatics (benzene, toluene and C8-C11 aromatics) in
       this region was below 20 ppbv but well above maximum concentrations measured
       recently over the Los Angeles urban area.
    3) The highest concentrations of particulate matter (PM) were about 25 ug m-3. The
       PM was composed primarily (~80%) of organics. These concentrations of
       organic PM are comparable to a day with very high concentrations in a major US
       city.
    4) The highest concentrations of ozone were 70 – 80 ppbv, which are comparable to
       average maximum concentrations observed in US urban areas.
                     (NOAA, www.esrl.noaa.gov/csd/tropchem/2010gulf/ )

    Brock et al., 2011, confirms the formation and growth of organic aerosols downwind
of the Deepwater Horizon oil spill. These unusual observations demonstrate that
relatively low concentrations of the oxidation products of intermediate-volatility
hydrocarbons can lead to rapid new particle formation and substantial condensational
growth in the atmosphere.

    Perring et al., 2011, reports that an estimated 5% of the total leaked oil was burned
leading to the direct atmospheric emission of black carbon (BC), the refractory and most
efficiently light absorbing component of soot, which affects both climate and human
health. The total amount of BC introduced to the atmosphere of the Gulf of Mexico via
surface burning of oil during the 9-week spill is estimated to be (1.35 ± 0.72) x 106 kg.

    Gullet et al., 2016, reports that sampling of the smoke plumes from the BP Deepwater
Horizon surface oil burns led to the unintentional collection of soot particles on the sail of
an instrument bearing tethered aerostat. Thermal-optical analyses indicated that the
particulate matter was 93% carbon with 82% being refractory elemental carbon. PAHs
accounted for roughly 68 ug/g of the PM filter mass and 5 mg/kg oil burned. PAHs
include: naphthalene, acenaphthylene, fluorene, phenathrene, anthracene, fluoranthene,
pyrene, benzo(a)anthracene, Chrysene, benzo(b)fluoranthene, Benzo(k)fluoranthene,
benzo(a)pyrene, Indeno (1,2,3-cd)pyrene, Dibenz(a,h)anthracene, benzo(ghi)perylene.

   Allan et al., 2012, characterizes the oil that flowed from the Macondo well during the
Deepwater Horizon oil spill as containing approximately 3.9% polycyclic aromatic
hydrocarbons (PAHs) by weight; an estimated 2.1 x 1010 g of PAHs were released during
the spill. PAHs are one of the principal contaminant classes of concern in oil spills
because many compounds are toxic and/or carcinogenic to humans and wildlife. The
water solubility and volatility of PAHs decreases as their molecular weight increases.



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The use of chemical dispersants during the Deepwater Horizon oil spill was a source of
contention among scientists and the public, in part because the application of dispersants
to crude oil makes PAHs and other hydrophobic compounds more soluble in water,
increasing their bioavailability.

    All available ambient air quality data gathered during the Deepwater Horizon oil spill
were reviewed, and a total of 106,569 measurements of fine PM and benzene were
evaluated by Nance, et al., 2016. Ambient air concentrations of PM 2.5 were generally
higher during the oil spill than the previous year and exceeded the Clean Air act’s 12
ug/m3 annual and 35 ug/m3 hourly standards in the parishes studied. Daily AQI (Air
Quality Index) exceedances for PM 2.5 were 10-45 times higher than background in all
of the parishes studied. All parishes also exceeded the annual 12 ug/m3 concentration
standard by factors of 1.65-1.99. Similarly, ambient air concentrations of benzene were
generally higher during the oil spill than during previous years. Benzene concentration
reached 2-19 times higher than background, and the estimated cancer risk exceeded the
Clean Air Act’s 10-in-a-million high risk guideline. These findings provide a basis for
concluding that ambient air quality—for PM 2.5 and benzene—was a likely threat to
public health during the oil spill. (Nance et al., 2016)

3.2 US EPA MSDS Corexit EC9500A and EC9527A

Narrative: For two weeks the following MSDS for Corexit EC9500A and EC9527A
were posted on the US EPA website. I personally downloaded these MSDS sheets
because I was monitoring the contaminants and interested in the heavy metals in the
dispersants due to the potential for seafood contamination. In two weeks of my
observations, I returned to the EPA site to find that MSDS from Nalco had been posted
that had the metal constituents removed. Later as I personally interviewed BP Oil
Spill clean-up workers I observed the clinical signs of arsenic exposure and had
numerous individuals provide medical records of elevated urinary inorganic arsenic
levels. There was also an interview of a resident who had elevated urinary arsenic
levels who lived two miles from the Mobile coast. He had a pond stocked with fish and
one morning he found that all the fish had died. He removed the dead fish and
drained the pond and then restocked the pond and again found that the fish died. It
was then that he called an Alabama State Agency to test his pond sediment and water
for an explanation. They found increased levels of arsenic. He then went to his doctor
and his own urinary arsenic levels were elevated. Data on aerial and boat spraying of
dispersants has not been provided to date in discovery and is pertinent to this case.
Numerous clean-up workers had Mees lines and hyperpigmentation of skin that I
observed during interviews. (PWilliams, PhD, DABT)

   On April 20, 2010, the BP-leased Deepwater Horizon drilling rig exploded, releasing
approximately 757 million liters of crude oil into the Gulf of Mexico over an 88-day
period. During this crisis, massive quantities of chemical dispersants were used to try to
reduce the spread of the crude oil into near-shore waters and onto coastlines. Most
notably, Nalco manufactures Corexit 9527 and 9500, the two products used in the
Deepwater Horizon spill. This crisis was the first large-scale application of these
dispersants, and at least 7.57 million liters were used. Corexit 9527 was used earlier


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during the spill but was discontinued because it was considered too toxic. Corexit 9527
was used in smaller quantities and was applied via aerial application. Corexit 9500 was
administered via deep-water injection and aerial application and was used in higher
quantities. As a result of this crisis, the potential toxicity of chemical dispersants to
humans and marine species has come into question because whether their application is
relatively safe is uncertain. (Wise J and Wise JP Sr., 2011)

   Over 4.9 million barrels of crude oil was released into the Gulf of Mexico between the
explosion of the Deepwater Horizon rig on 20 April 2010 and the top-capping of the
wellhead on July 15 2010. (United States Coast Guard 2011 in McGowan et al., 2017)
As part of the oil spill response and cleanup (OSRC), approximately 1.8 million gallons
(6.8 million liters) of oil dispersant was applied both to the sea surface [1.07 million
gallons (4.05 million liters)] and directly into the stream of oil leaving the wellhead 5,000
feet (1.5 km) underwater [0.77 million gallons (2.9 million liters)] (United States Coast
Guard 2011). Dispersants are typically used to reduce the interfacial tension between
crude oil and water and facilitate the breakup of oil slicks into small droplets that are
thought to be more easily dispersed by natural processes such as wind and wave action.
Two dispersants were used in the Deepwater Horizon spill response: CorexitTMEC9500A
(9500A), which was applied at both the water surface and the subsurface wellhead, and
CorexitTMEC9527A (9527A) which was applied only at the water surface. Both
dispersants are composed of propylene glycol and organic salts including dioctyl sodium
sulfosuccinate (DOSS). Additionally 9500A contains petroleum distillates, whereas
9527A does not contain petroleum distillates but does contain 2-butoxyethanol (Wise and
Wise, 2011 in McGowan et al., 2017)

   Dispersants were applied to the surface either through aerial spraying or by vessels
within 3 nautical miles (5.5 km) of the wellhead area. Aerial application consisted of
both 9527A and 9500A from 22 April until 22 May, after which 9500A was used
exclusively. Vessels in the wellhead area applied 9500A exclusively (BP Gulf Science
Data 2016 in McGowan et al., 2017) Based on these uses, the most likely avenues for
human exposure among responders are from dermal exposure and from inhalation of
dispersant aerosol droplets. (McGowan et al., 2017)

   Previous epidemiologic studies have found adverse health effects associated with oil
spill cleanup work. Effects have included increased lumbar pain, migraine, dermatitis,
eye and throat irritation, and respiratory symptoms. Zock et al. (2012) found an
association between participating in cleanup work and self-reported respiratory
symptoms 5 years after the spill response in workers who responded to the Prestige oil
spill in 2002. (McGowan et al., 2017)

   McGowan et al., 2017, categorized exposed cleanup workers as potentially exposed to
9500A only or as potentially additionally exposed to 9527A based on the dates of their
cleanup work duties. Because 9527A was used in aerial applications only prior to 22
May 2010, those who worked during that period were potentially exposed to 9527A and
9500A. Those who worked after 22 May were classified as potentially exposed to 9500A
only. (McGowan et al., 2017) [Corexit 9500A contained 0.160 ppm or 160 ppb of



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Arsenic)

3.3 COREXIT® EC9500A MSDS Technical Product Bulletin #D-4

IV. Special Handling and Worker Precautions for Storage and Field Application:
1. Flammability:
IMO: Non-flammable; DOT: Non-hazardous
2. Ventilation:
Use with ventilation equal to unobstructed outdoors in moderate breeze.
3. Skin and eye contact; protective clothing; treatment in case of contact:
Avoid eye contact. In case of eye contact, immediately flush eyes with large amounts of
water for at least 15 minutes. Get prompt medical attention. Avoid contact with skin and
clothing. In case of skin contact, immediately flush with large amounts of water, and
soap if available. Remove contaminated clothing, including shoes, after flushing has
begun. If irritation persists, seek medical attention. For open systems where contact is
likely, wear long sleeve shirt, chemical resistant gloves, and chemical protective goggles.

Constituents of COREXIT® EC9500A as provided by the US EPA Emergency
Management MSDS lists the following heavy metals:
IX. ANALYSIS FOR HEAVY METALS, CYANIDE, AND CHLORINATED HYDROCARBONS
Compound                                                             Concentration (ppm)
Arsenic                                                              0.16 (160 ppb)
Cadmium                                                              N/D
Chromium                                                             0.03 (30 ppb)
Copper                                                               0.10 (100 ppb)
Lead                                                                 N/D
Mercury                                                              N/D
Nickel                                                               N/D
Zinc                                                                 N/D
Cyanide                                                              N/D
Chlorinated Hydrocarbons                                             N/D

N/D = Not detected

AERIAL SPRAYING: Aircraft provide the most rapid method of applying dispersants
to an oil spill and a variety of aircraft can be used for spraying. For aerial spraying,
Corexit EC9500A is applied undiluted. A typical treatment rate is two to ten US gallons
per acre or a DOR (dispersant to oil ratio) of 1:50 to 1:10. However, this can vary
depending on the type of oil, degree of weathering, temperature an thickness of the oil
slick.
    Typical application altitudes of 30 to 50 feet have been used, although higher altitudes
may be effective under certain conditions. Actual effective altitudes will depend on the
application equipment, weather and aircraft.
    Careful selection of spray nozzles is critical to achieve desired dose levels, since
droplet size must be controlled. Many nozzles used for agricultural spraying are of low
capacity and produce too fine a spray. A quarter inch open pipe may be all that is



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necessary if the aircraft travels at 120 mph (104 knots) or more, since the air shear at
these speeds will be sufficient to break the dispersant into the proper sized droplets.

BOAT SPRAYING: Corexit EC9500A may also be applied by workboats equipped
with spray booms mounted ahead of the bow wake or as far forward as possible. The
preferred and most effective method of application workboat is to use a low-volume, low-
pressure pump so the chemical can be applied undiluted. However, if this is not practical,
water-dilution systems that provide a 5-10% dispersant concentration should be used.
Corexit EC9500A is formulated to be diluted with seawater if necessary during
application, since the product is active at very low dosage (2-10 USGPA, 19-94L/ha)
   A seawater pump allows for easy chemical addition by eduction into the water stream.
The mixture of dispersant and seawater is then discharged through booms having several
nozzles.
   Corexit EC9500A should be applied as droplets, not logged or atomized. Natural
wave or boat wake action usually provides adequate mixing energy to disperse the oil.
Recent tests have indicated that a fire monitor modified with a screen cap for droplet size
control may also be useful for applying Corexit EC9500A. Due to the increased volume
output and the greater reach of the fire monitor, significantly more area can be covered in
a shorter period of time.

Narrative: Of particular importance are the heavy metals, including Arsenic (160
ppb), Chromium (30 ppb), and Copper (100 ppb). Metals are cumulative toxicants and
are stored in the body with increasing concentrations and increasing toxic effects
specific to the toxicokinetics of each metal. (PWilliams, PhD, DABT)

3.4 COREXIT® EC9527A MSDS Technical Product Bulletin #D-1 (Revised listing
date: December 18, 1995)

IV. Special Handling and Worker Precautions for Storage and Field Application:
1. Flammability:
COREXIT® EC9527A is not classified as flammable by either DOT or IMO regulations.
2. Ventilation:
Avoid prolonged breathing of vapors. Use with ventilation equal to unobstructed
outdoors in moderate breeze.
3. Skin and eye contact; protective clothing; treatment in case of contact:
Avoid eye contact. In case of eye contact, immediately flush eyes with large amounts of
water for at least 15 minutes. Get prompt medical attention. Avoid contact with skin and
clothing. In case of skin contact, immediately flush with large amounts of water, and
soap if available. Remove contaminated clothing, including shoes, after flushing has
begun. If irritation persists, seek medical attention. For open systems where contact is
likely, wear long sleeve shirt, chemical resistant gloves, and chemical protective goggles.

Constituents of COREXIT® EC9527A as provided by the US EPA Emergency
Management MSDS lists the following heavy metals:

ANALYSIS FOR HEAVY METALS, CYANIDE, AND CHLORINATED HYDROCARBONS



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Compound                                                                           Concentration (ppm)
Arsenic                                                                            < 0.005 < (5 ppb)
Cadmium                                                                            < 0.01 < (10 ppb)
Chromium                                                                           < 1.0 < (1000 ppb)
Copper                                                                             < 0.2 < (200 ppb)
Lead                                                                               < 0.1 < (100 ppb)
Mercury                                                                            < 0.003 < (3 ppb)
Nickel                                                                             < 0.1 < (100 ppb)
Zinc                                                                               0.1     (100 ppb)
Cyanide                                                                            < 0.01
Chlorinated Hydrocarbons                                                           < 0.01

AERIAL SPRAYING: Aircraft provide the most rapid method of applying dispersants
to be an oil spill and a variety of aircraft can be used for spraying. For aerial spraying,
Corexit EC9527A is applied undiluted. A typical treatment rate is 2 to 10 US gallons per
acre or a DOR (dispersant to oil ration) of 1:50 to 1:10. However, this can vary
depending on the type of oil, degree of weathering, temperature and thickness of the oil
slick. Typical application altitudes of 30 to 50 feet have been used, although higher
attitudes may be effective under certain conditions. Careful selection of spray nozzles is
critical to achieve desired dose levels, since droplet size must be controlled. Many
nozzles used for agricultural spraying are of low capacity and produce too fine a spray.
A quarter inch open pipe may be all that is necessary if the aircraft travels at 120 mph
(104 knots) or more, since the air shear at these speeds will be sufficient to break the
dispersant into the proper-sized droplets.

BOAT SPRAYING: A seawater pump allows for easy chemical addition by eduction
into the water stream. The mixture of dispersant and seawater is then discharged through
booms having several nozzles. Corexit EC9527A should be applied as droplets, not
fogged or atomized. Natural wave or boat wake action usually provides adequate mixing
energy to disperse the oil. Recent tests have indicated that a fire monitor modified with a
screen cap for droplet size control may also be useful for applying Corexit EC9527A.

3.5 Characterization of subsurface and sediment contaminants in Published
Literature and Government documents

Narrative: This section is meant to document the toxicants of concern for the General
Causation purpose of this report. (PWilliams, PhD, DABT)

    Diercks A, et al., 2010 reported on initial subsurface distribution of contaminants
following the explosion of the Deepwater Horizon oil well site. Deepwater Horizon oil
release was likely to be associated with acute toxicity effects in discrete depth layers
between 1000 and 1400 m in the region southwest of the wellhead site and extending at
least as far as 13 km. There was extensive release of additional oil and dispersants at the
site. Therefore, the effects on the deep sea ecosystem may be considerably more severe
than supported by the observations reported in the article. (Diercks A, 2010)




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    Brooks G, et al., 2015 report on the impacts of the Deepwater Horizon (DWH) oil
discharge at the seafloor as recorded in bottom sediments of the DeSoto Canyon region in
the northeastern Gulf of Mexico. Through a close coupling of sedimentological,
geochemical, and biological approaches, multiple independent lines of evidence from 11
sites sampled in November/December 2010 revealed that the upper ~1 cm depth interval
is distinct from underlying sediments and results indicate that particles originated at the
sea surface. Consistent dissimilarities in grain size over the surficial ~1 cm of sediments
correspond to excess Th234 depths, which indicates a lack of vertical mixing
(bioturbation), suggesting the entire layer was deposited within a 4-5 month period.
Further, a time series from four deep-sea sites sampled up to three additional times over
the following two years revealed that excess Th234 depths, accumulation rates, and Th234
inventories decreased rapidly, within a few to several months after initial coring. Results
are consistent with a brief depositional pulse that was also reported in previous studies of
sediments, and marine snow formation in surface waters closer to the wellhead during the
summer and fall of 2010. The authors conclude that the sedimentation pulse in late 2010
is the product of marine snow formation and is likely linked to the DWH discharge.
Excess Pb210 and Th234 were detected in almost all cores. Excess Pb210 was detected in all
eleven November/December 2010 cores to depths ranging from ~10-19 cm. Excess Th234
was detected in all November/December 2010 cores, except for Core M-01, collected at
the shallowest depth of 100m. Excess Th234 depths ranged from 0.4 to 1.2 cm. Excess
Pb210 and Th234 was detected in all cores collected from the four time series sites over the
two-year period. (Brooks G, et al., 2015)

    The US Department of the Interior and the US Geological Survey measured organic
contaminants and trace and major elements, and nutrients in water and sediment sampled
in response to the Deepwater Horizon Oil Spill. Beach water and sediment samples were
collected along the Gulf of Mexico coast to assess differences in contaminant
concentrations before and after landfall of Macondo-1 well oil released into the Gulf of
Mexico from the sinking of the British Petroleum corporation’s Deepwater Horizon
drilling platform. Samples were collected at 70 coastal sites on the Gulf of Mexico
between May 7 and July 7, 2010, to document baseline, “pre-landfall” conditions. A
subset of these sites was resampled during October 4 to 14, 2010, after oil had made
landfall on the Gulf of Mexico coast “post-landfall” to determine if actionable
concentrations of oil were present along shorelines. (USGS 2011-1271)

    The elements responsible for the most exceedances in post landfall samples of water
were boron, copper, and manganese. Nickel and vanadium, which the US Environmental
Protection Agency specifically identified as relevant to the oil spill, were responsible for
exceedances in only one of the fifty-two post-landfill samples with exceedances. For
trace elements in whole sediment (unsieved) in the less than 63-micrometer sediment
fraction, one or more trace or major elements were anthropogenically enriched relative to
national baseline values for US streams for almost all sediment samples. Sixteen percent
of sediment samples exceeded upper screening-value benchmarks for, and were enriched
in, one or more of the element(s): barium, vanadium aluminum, manganese, arsenic,
chromium, and cobalt. These samples were collected from Louisiana and Texas.
(USGS 2011-1271)



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   Concentrations in water were significantly higher (p<0.05) in post-landfall samples for
barium, calcium, magnesium, molybdenum, potassium, and sodium, These are all
elements in seawater, and barium sulfate is a standard additive in drilling mud. (USGS
2011-1271)

   Aquatic-life benchmarks were available for 18 trace elements in water. Acute and
chronic benchmaks were exceeded in post-landfall water samples. The acute benchmarks
exceeded were for copper and zinc. The chronic benchmarks exceeded were for boron,
manganese, copper, cobalt, nickel, lead, barium, zinc, and vanadium. Of 56 post-landfall
samples, 52 exceeded one or more chronic aquatic-life benchmarks for trace elements in
water, with exceedances for boron in 48 post-landfall samples, copper in 22, manganese
in 12, barium in 2, and lead, nickel, vanadium, and zinc in 1 post-landfall water sample
each. (USGS 2011-1271)

3.6 Evidence of Heavy metal contamination in Seafood—published poster
presentation-- Heavy Metal Analysis of Northern Gulf of Mexico White Shrimp
Harvested Following the Deepwater Horizon Oil Spill; Poster Presentation. 3rd
Anniversary of Deepwater Horizon Incident Conference, Baton Rouge, LA. April
22, 2013, Patricia M Williams PhD, DABT et al.

   With the usage of the XRF spectrometer, we were able to detect Ba, Pb/As, Co, Cu,
Ni, Zn, and Ti in the Gulf white shrimp. The East Coast shrimp only showed levels of Zn
and Sb. Though the XRF detected high levels of Sb with the East Coast shrimp, 103.15,
we conclude that due to the measurements being in percent that this reading could
possibly be an error. The XRF only detected Fe in the West Coast shrimp. Cd, Cr, Hg,
Mn, Se, Ag are chemicals not detected in Gulf, East Coast, and West Coast shrimp. The
chemicals Mo, Sr, and Rb were found throughout all three specimens.

   Below is a chart showing the different measurements we received while screening the
shrimp. The unit of measure is percent.




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3.7 Congressional Research Service Report for Congress 7-5700; R41531:
Deepwater Horizon Oil Spill: The Fate of the Oil, December 16, 2010

    The Deepwater Horizon explosion on April 20, 2010 released more than 200 million
gallons (or 4.9 million barrels) of crude oil. The uncertainty range of this estimate (±
10%) is equivalent to two Exxon Valdez size spills in either direction. In the 2010 Gulf
spill, responders employed a combination of mechanical removal (e.g. booming and
skimming), in situ burning, and surface and sub-surface chemical dispersant application
to remove the oil from the open waters of the Gulf. (CRS Report for Congress, 2010)

   Chemically dispersed Intervention: The budget estimates that 770,000 barrels (~32
million gallons) of oil were dispersed through the application of 1.8 million gallons of
surface and sub-surface chemical dispersants—16% of the total estimated release. (CRS
Report for Congress, 2010)




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   The initial report released by the Fish and Wildlife Service today showed that as of
September 14, 2010, a total of 3,634 dead birds and 1.042 live birds have been found in
areas affected by the Deepwater Horizon Oil Spill. These numbers are subject to
verification and cannot be considered final. Of the dead birds, the largest numbers are
laughing gulls, followed by brown pelicans and northern gannets. (US Department of the
Interior, 2010)

   NOAA fisheries report that 450 living, oiled sea turtles were rescued, brought into
rehabilitation, cleaned, and released back into the wild. In addition, 275 sea turtle nests
were translocated. About 28,000 sea turtle eggs were collected and 14,000 hatchlings
were released off the Atlantic coast of Florida. Ninety-five percent of released sea turtles
were loggerhead sea turtles. More than 600 turtles were found dead during the oil spill
response, of which 18 were visibly oiled. About 75 percent were Kemp’s ridley turtles.
(NOAA, 9/13/2019)




www.nationalgeographic.com




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yourcruisingeditor.wordpress.com




news.mongabay.com

3.8 Oil, Dispersants and Massive Islands of Seaweed (Sargassum)

   Large brown seaweed, known as sargassum, form floating islands in open stretches of
ocean and sea. Sargassum is also an important part of the Gulf of Mexico, which
contains the second most productive sargassum ecosystem in the world. Some shrimp,
crabs, and fish are specially suited to life in sargassum. Certain species of eel, fish, and
shark spawn there. Each year, humpback whales, tuna, and seabirds migrate across these
fruitful waters, taking advantage of the gathering of life that occurs where ocean currents
converge. (NOAA, 2015)



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                                                             Sargassum habitat for marine turtle.
                                                             (NOAA, 2019)




                                                                                  Healthy
                                                                                  sargassum
                                                                                  ecosystem
                                                                                  (NOAA, 2015)




    However, an abundance of marine life is not the only thing that can accumulate with
these large patches of sargassum. Spilled oil, carried by currents, can also end up
swirling among the seaweed. As the ocean currents brought the spill into contact with
sargassum, oil would coat those same snarled branches and bladders of the seaweed. The
turtles and other marine life living within and near the oiled sargassum would come into
contact with the oil too, as they dove, swam, and rested among the floating mats. That oil
can be inhaled as vapors, be swallowed or consumed with food, and foul feathers, skin,
scales, shell, and fur, which in turn smothers, suffocates, or strips the animal of its ability
to stay insulated. The effects can be toxic and deadly. (NOAA, 2015)




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                                          Impacts of an oil spill on sargassum
                                          and associated marine life in the
    Depending on how much oil                                                   arrived, the
                                          water column (NOAA, 2015)
sargassum would grow less, or not at                                            all, or even
die. These floating seaweed oases                                               begin
shrinking. As life in the sargassum                                             starts to
perish, it may drop to the ocean bottom, potentially bringing oil and the toxic effects with
it. Sargassum and its inhabitants are particularly vulnerable to threats such as oil spills
and marine debris due to the fact that ocean currents naturally tend to concentrate all of
these things together in the same places. In turn, this concentrating effect can lead to
marine life being exposed to oil and other pollutants for more extended periods of time
and perhaps greater impacts. (NOAA, 2015)




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                                                                Sargassum may at some point become
                                                                soaked with oil and move into the
                                                                water column
                                                                (Wilson et al., 2015)




                                                                Sargassum may retain smaller amounts
                                                                of floating oil and disprsants and remain
                                                                afloat
                                                                (Wilson et al., 2015)




   Emergency responders used a large amount of dispersants during the 2010 DWH oil
spill. They applied approximately 1.8 million gallons of chemical dispersants (Corexit
9572A and 9500A) to surface waters that were oiled from April 22 through July 19.
They also injected roughly 771,000 gallons of dispersants directly into the flow of oil and
gas from the Macondo wellhead. (Wilson et al., 2015)

   During the Deepwater Horizon oil spill, responders applied chemical dispersants to
the oil slick at the sea surface using planes and boats. This method exposed the
dispersants to direct sunlight, which could have caused some of the ingredients in them to
be less effective. However, the direct sunlight altered other chemical components in the
water, which caused the Corexit to degrade. (Heavy metals do not degrade as they are
elements. Metals cannot be created or destroyed) (Wilson et al., 2015)




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                                                      Oil mixed with dispersants floating on
                                                      the surface of the Gulf after the DWH
                                                      oil spill.
                                                      (National Geographic, 2015)




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Aerial spraying of dispersants in Gulf of Mexico. (Google Images)




Seaweed and tar on Gulf beaches after BP Oil Spill. (Google Images)




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Seaweed and tar on Gulf beaches after BP Oil spill. (Google Images)




Seaweed and liquid tar on Gulf beaches after the BP Oil Spill. (Google Images)




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Seaweed and liquid tar on Gulf beaches after BP Oil Spill. (Google Images)



3.9 Exposure Pathways for Oil, Dispersant, and Dispersant Oil Mixtures

   Dermal and Inhalation Pathways: During an oil spill response, primary response
worker exposure pathways of concern are inhalational and dermal exposure to VOC
components of oil, including benzene, and potential inhalational and dermal exposure to
dispersants or dispersed oil. Aerosolization of oil containing particles is another potential
pathway to both inhalation and dermal exposures. (NAS, 2019)

   Dermal exposure to oil constituents has been shown to cause skin irritation and skin
cancer (USEPA, 2017) and transdermal absorption will also be an important route in
chronic toxicity risk for oil components, particularly related to cancer risk estimates for
benzene. It is conceivable that the surfactant properties of dispersants may increase
transdermal absorption. The likelihood of workers being exposed to a mixture of
dispersants and crude oil may be unknown but is expected to be low since few responders
are in the immediate vicinity when dispersants are applied to surface slicks, either by
vessel or aircraft. For responders who could be in the area performing specific tasks, it is
expected that appropriate Personal Protective Equipment (PPE) will be used. (NAS,
2019)

   Workers involved in dispersant operations, or otherwise in the pathway of dispersant
exposure, are presumably most at risk, although the use of appropriate PPE is expected to
mitigate this risk. (NAS, 2019)




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3.10 Notice of hazards in signage in Escambia County, FL in 2012




                                        2012 Escambia County, FL advisory
                                        Photo taken by Patricia M Williams PhD, DABT




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4.0 Chronic Conjunctivitis

   Conjunctivitis is an inflammation or swelling of the conjunctiva. The conjunctiva is
the thin transparent layer of tissue that lines the inner surface of the eyelid and covers the
shite part of the eye. (American Optometric Association [AOM], 2019)

People with conjunctivitis may experience the following symptoms:
       A gritty feeling in one or both eyes
       Itchy eyes
       Burning eyes
       Excessive tears
       Redness in the white of the eye or inner eyelid
       Swollen conjunctiva (eyelids)
       Blurred vision
       Increased sensitivity to light
       Swollen lymph nodes (often from a viral infection)
       Discharge from one or both eyes
(AOM, 2019; Web MD, 2018)

   There are three main types of conjunctivitis: allergic, infectious, and chemical. The
cause of conjunctivitis varies depending on the type. 1) Allergic conjunctivitis occurs
more commonly among people who already have seasonal allergies. They develop it
when they come into contact with a substance that triggers an allergic reaction in their
eyes. 2) Infectious Conjunctivitis is an infection that may be viral or bacterial. It is
often called “pink eye” and may be highly contagious. 3) Chemical Conjunctivitis can
be caused by irritants like air pollution, chlorine in swimming pools, and exposure to
noxious chemicals. Conjunctivitis can be diagnosed through a comprehensive eye
examination. (AOM, 2019)

    Chemical conjunctivitis requires careful flushing of the eyes with saline and may
require the use of topical steroids. Severe chemical injuries, particularly alkali burns, are
medical emergencies and can lead to scarring, damage to the eye or the sight, or even loss
of the eye. (AOM, 2019)




                                         sciencesource.com




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(Eileen Kalmar neuroanatomy)


5.0 Chronic Sinusitis/Chronic Rhinosinusitis (ICD code J32.9)

   Chronic Sinusitis occurs when the spaces inside the nose and head (sinuses) are
swollen and inflamed for three months or longer, despite treatment. This common
condition interferes with the way mucus normally drains, and makes the nose stuffy.
Breathing through your nose may be difficult, and the area around your eyes might feel
swollen or tender. Chronic sinusitis can be brought on by an infection, by growths in the
sinuses (nasal polyps) or swelling of the lining of your sinuses. Also called chronic
rhinosinusitis. (Mayo Clinic, 2019)

   Chronic sinusitis and acute sinusitis have similar signs and symptoms, but acute
sinusitis is a temporary infection of the sinuses, often associated with a cold. The signs
and symptoms of chronic sinusitis last at least 12 weeks, but there may have been several
episodes of acute sinusitis before developing chronic sinusitis. (Mayo Clinic, 2019)

   Symptoms include:
      Nasal inflammation
      Thick, discolored discharge from the nose
      Drainage down the back of the throat (postnasal drainage)


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      Nasal obstruction or congestion, causing difficulty breathing through nose
      Pain, tenderness and swelling around the eyes, cheeks, nose, or forehead
      Reduced sense of smell and taste
      Ear pain
      Aching in the upper jaw and teeth
      Cough or throat clearing
      Sore throat
      Bad breath
      Fatigue
(Mayo Clinic, 2019)


6.0 Chronic Rhinitis (ICD code J31.0) (Nonallergic)

    Nonallergic rhinitis involves chronic sneezing or a congested, drippy nose with no
apparent cause. The symptoms of nonallergic rhinitis are similar to those of hay fever
(allergic rhinitis), but none of the usual evidence of an allergic reaction is present.
Triggers of nonallergic rhinitis symptoms vary and can include certain odors or irritants
in the air, changes in the weather, some medications, certain foods, and chronic health
conditions. A diagnosis of nonallergic rhinitis is made after an allergic cause is ruled out.
Nonallergic rhinitis doesn’t usually cause itchy nose, eyes or throat symptoms associated
with allergies such as hay fever. (Mayo Clinic, 2019)

  Symptoms include:
  Stuffy nose
  Runny nose
  Sneezing
  Mucus
  Cough
(Mayo Clinic, 2019)


7.0 Chronic Dermatitis

    Dermatitis is a general term that describes a skin irritation. Dermatitis is a common
condition that has many causes and occurs in many forms. It usually involves itchy, dry
skin or a rash on swollen, reddened skin. Or it may cause the skin to blister, ooze, crust
or flake off. Examples of this condition are atopic dermatitis (eczema), dandruff, and
contact dermatitis. (Mayo Clinic, 2019)

Types of Dermatitis include:
Atopic dermatitis (eczema)
Contact dermatitis
Cradle cap
Diaper rash
Seborrheic dermatitis



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Symptoms include:
  Red, itchy rash
  Rash may leak fluid or crust over
  Burning rash
  Blisters
  Thickened skin
   Bumps in hair follicles
(Mayo Clinic, 2019)


8.0 Health Effects of Oil Spill Workers

   Numerous oils spills have occurred necessitating cleanup of the spillage by teams of
workers or volunteers. Although there are differences in the total constituents of the
crude, all spills have the following constituents in the composition of the crude oil spill:
Polycyclic Aromatic Hydrocarbons, heavy metals, , Volatile Organic compounds,
including benzene, toluene, and xylene, and particulate matter. Acute and chronic
symptoms have been published and exposed participants share many common symptoms
among the various spills. Included and of high prevalence in cleanup workers are
headache, throat irritation, dermatitis, and itchy eyes. Below is a composite of the
symptoms recorded from various oil spills that are relevant to the non-cancerous health
effects discussed in this report.

The Sea Empress (Wales, February 15, 1996)
Sore eyes OR = 1.96 95% CI (1.06 – 3.62)                [Rodriguez-Trigo, 2007]
Sore eyes OR = 3.90 95% CI (2.41—6.35)                  [Lyons, 1999] p = <.001

The Prestige (off Coast of Spain, November 13, 2002)
Itchy eyes OR = 2.67 95% CI (1.13 – 6.28)            [Rodriguez-Trigo, 2007]
            OR = 2.89 95% CI (1.21—6.90) [Carrasco, 2006]
            OR = 18.37 95% CI (2.58—130.76) Bird Cleaners [Carrasco, 2006]
Itchy eyes OR = 3.02 95% CI (1.04-8.79) Unknown Age [Suarez, 2005]
Itchy eyes Days of Activity in Highly polluted Area:
            OR = 1.00 < 3 days [Suarez, 2005]
            OR = 3.12 95% CI (1.15-8.43) 3-20 days [Suarez, 2005]
            OR = 3.07 95% CI (1.32-7.14) > 20 days [Suarez, 2005]
Itchy eyes No. of activities
            OR = 1.00 1 activity [Suarez, 2005]
            OR = 1.38 95% CI (0.50-3.77) 2 activities [Suarez, 2005]
            OR = 5.24 95% CI (1.98-13.87) 3 or more activities [Suarez, 2005]
Itchy eyes Cleanup of boulders and rocks/shingle beaches/wharves
            OR = 2.68 95% CI (1.22-5.91) [Suarez, 2005]

Nasal symptoms      OR = 1.87 95% CI (1.62—2.16) M [Zock, 2007]
                      OR = 1,61 95% CI (1.33—1.94) F [Zock, 2007]




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Association between participation in cleanup activities and nasal symptoms
according to the time elapsed since the last cleanup activities:
322 to 436 days Nasal symptoms OR = 2.66 95% CI (227-3.11) [Zock, 2007]
437 to 610 days                      OR = 1.90 95% CI (1.62—2.24) [Zock, 2007]
Unknown time                          OR = 1.98 95% CI (1.70—2.32) [Zock, 2007]

Runny nose OR = 2.12 95% CI (1.47—3.05) p = <.001          [Lyons, 1999]

Lesions Bird Cleaners   OR = 95% CI (2.51-4.57) [Suarez, 2005]

Lesions Days of Activity
        OR = 1.0 < 3 days [Suarez, 2005]
        OR = 1.29 95% CI (0.58-2.89) 3-20 days [Suarez, 2005]
        OR = 3.11 95% CI (1.68-5.78) > 20 days   [Suarez, 2005]
Lesions Less Polluted Area
        OR = 1.00       < 3 days [Suarez, 2005]
        OR = 1.85 95% CI ( 0.89-3.85) 3 – 20 days [Suarez, 2005]
        OR = 3.40 95% CI (1.73-6.68) > 20 days      [Suarez, 2005]
Lesions No. of Activities
        OR = 1.00 1 activity [Suarez, 2005]
        OR = 3.24 95% CI (1.55—6.67) 2 activities [Suarez, 2005]
        OR = 4.90 95% CI (2.18—11.02) 3 or more activities [Suarez, 2005]
Lesions Type of Activity
         OR = 5.59 95% CI (3.05-10.25) Bird Care [Suarez, 2005]
         OR = 6.16 95% CI (1.91—19.80) Location of barriers [Suarez, 2005]
Lesions Protective clothing/devices: Suits
         OR = 1.00 Worn and not torn [Suarez, 2005]
         OR = 2.47 95% CI (1.20—5.10) Worn and torn [Suarez, 2005]
Lesions Skin Contact with Fuel-Head and Neck
         OR = 2.00 95% CI (1.02—3.96) [Suarez, 2005]

Itchy Skin OR = 13.48; P < 0.00001 [D’Andrea, 2014]

Tasman Spirit Oil Spill (Karachi, Pakistan; July 27, 2003)
Sore eyes Crude POR = 11.7 95% CI (6.0—22.6) [Janjua, 2006]
            Adjusted POR = 11.9 95% CI (5.7—24.9) [Janjua, 2006]
Itchy eyes Crude POR = 6.4 95% CI (3,5—11.6)                [Janjua, 2006]
            Adjusted POR = 5.9 95% CI (3.0—11.7) [Janjua, 2006]
Watery eyes Crude POR = 6.2 95% CI (3.2—11.7) [Janjua, 2006]
              Adjusted POR = 5.3 95% CI (2.6—10.9) [Janjua, 2006]
Eye Irritation/Redness OR = 23.06 95% CI (2.9-182.3) p = 0.0001 [Meo, 2009]
Red Eyes Crude POR = 8.3 95% CI (3.8—18.0)                 [Janjua, 2006]
            Adjusted POR = 8.5 95% CI (3.6—19.7) [Janjua, 2006]

Skin symptoms
Itchy Skin POR = 10.2 95% CI (4.0—26.1)       [Janjua, 2006]



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Itchy skin    OR = 2.66 95% CI (1.59—4.48) [Lyons, 1999] p = <.001
Rash          OR = 2.69 95% CI (1.41—5.18) [Lyons, 1999] p = <.001

Skin irritation POR = 8.1 95% CI (2.8—23.0) [Janjua, 2006]

Runny Nose OR = 13.5 95% CI (2.9-62.2) p = 0.0001 [Meo, 2009]

The Tanker MV Braer Oil Spill (Garth’s Ness, south west of Shetland, January 5, 1993)
Itchy Eyes OR = 26.0 95% CI (9.58—70.58) Exposed Group [Campbell, 1993]
                  Before: 17% After 117%
           OR = 6.72 95% CI (2.53—19.45) Exposed v Controls [Campbell, 1993]

Skin Irritation OR = 42.0 95% CI (7.19—376.15) Exposed group [Campbell, 1993]
Before: 14% After: 65%
Skin Irritation OR = 2.62 95% CI (1.04-7.02) Exposed v Controls [Campbell, 1993]


Crude Oil Pipeline Rupture (Etiama Nembe, Nigeria, May 2000)
Itchy Eyes OR = 10.93; P < 0.0001 [D’Andrea, 2014]

   Bosch X, 2003 reports that exposure to oil spill has detrimental effect on cleanup
workers’ health. The Prestige tanker oil spill off Spain’s northwestern coast has had a
devastating effect on wildlife in the region. A report was released by the Spanish Higher
Research Council that high lighted the toxic effects of the oil on the many volunteers and
soldiers who are cleaning up the Galician coastline. This report that was released on
January 2, 2003 notes that the oil contains heavy metals, especially zinc, nickel, and
vanadium, as well as sulphur, and polycyclic aromatic hydrocarbons (PAHs) such as
benzene and toluene. Direct contact with the oil or its vapours can cause skin rash and
eye redness, the report adds, and prolonged and repeated exposure at low concentrations
can cause nausea, dizziness, headache, and somnolence. In mid-November, the Prestige,
which was carrying 77,000 tonnes of fuel oil, broke in two and sank 240 km off the coast;
so far, it is estimated to have lost about a quarter of its cargo, and more than 500 beaches
have been contaminated. On Jan 4, the Gallician Health Department released a report on
people who sought medical attention for complaints between Novem 29 and Jan 3.
During this period 711 clean-up workers requested an examination for their symptoms.
These included conjunctivitis (167), headache (138), sore throat (137), breathing
difficulty (115), vomiting (103), skin rash (73), and abdominal pain (42). All cleanup
workers were previously urged to wear respirators, goggles, gloves, and impermeable
clothes. (Bosch, 2003)

   Benzene concentrations in the Prestige Oil Spill were high (388 ug/m3 for
volunteers; 115 ug/m3 for workers) in view of the fact that the yearly average value
recommended by the European Union is 5 ug/m3. (Rodriguez-Trigo, 2007)

  Jan-Paul Zock et al. (2007) [Prestige Oil Spill] reported that the risk of developing
symptoms increased with the level of exposure from oil spillage. A significant dose-



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related trend was seen when the number of days and the average number of hours of daily
activities were considered. The authors observed that the prevalent respiratory symptoms
among male workers were wheezing with breathlessness (9.6%); shortness of breath
(10.3%); chronic cough (16.1 %); chronic phlegm (17.6%); asthma (4.7%); chronic
bronchitis (4.6%); nasal allergy or rhinitis (7.9%). (Meo, 2009)

   Suarez et al. (2005), and Carrasco et al. (2006) [Prestige Oil Spill] reported the toxic
effects including headache, itchy eyes, nausea, vomiting, dizziness, throat and
respiratory tract problems and noted that these symptoms were more prevalent among
workers who did the cleanup in highly polluted areas. The overall frequency of the
health complaints reported by Suarez et al., (2005) was 8% for headache, 5% for eye
symptoms, 10.7% for neuro-vegetative disorders, and 8.1 % for the throat and
respiratory problems.

    On December 12, 1999, the oil tanker Erika wrecked and sank 55 km off the French
coast of Penmarch Point on the south coast of Brittany, resulting in more than 20,000
tons of heavy oil being released into the open sea. The weather conditions and currents
in the vicinity of the spill caused the oil slick to spread along 400 km of the coastline,
from western Brittany to the northern tip of the islands of Re and Oleron, raising health
concerns in the oil spill impacted area. Health problems among people involved in
clearing oils spills are not uncommon. The Erika spill in 1999 (Penmarch, France)
involved a similar type of oil to the Prestige Oil Spill. (D’Andrea, 2014) A survey on
3,669 cleanup workers found that 53% had at least one symptom including headache,
rash, eye redness, respiratory problems, nausea, and abdominal pain. (Bosch, 2003)
Health problems such as lumbar pain (30%), migraines (22%), and dermatitis (16%)
were reported. To a lesser degree, participants also reported eye irritation (9%),
respiratory problems (7%), and nausea (6%). (D’Andrea, 2014- The Erika spill)

   Benzene and other VOC concentrations in the Erika Oil Spill included atmospheric
samples on the oil-polluted beach:
VOCs 3,920 ug/m3 4,450 ug/m3
Naphthalene 4.22 ug/m3 4.62 ug/m3
Benzene      124 ug/m3 96 ug/m3
Toluene      489 ug/m3 576 ug/m3
Xylenes      1,687 ug/m3 1,995 ug/m3
                                 (Baars, 2002 from Boudet et al., 2000- The Erika spill)

   For dermal exposure to PAHs in soil matrices RIVM estimated in 1989 a limit value
for the 1:104 excess lifetime skin cancer risk of 2 ng benzo[a]pyrene equivalents per cm2
skin per day. (Brinkman et al, 1989 in Baars, 2002- The Erika spill) [National Institute of
Public Health and the Environment (RIVM – Netherlands)]


   The spillage from a Greek oil tanker the “Tasman Spirit” carrying approximately
67,535 ton of crude oil, which ran aground in the channel of the Karachi port, Pakistan,
and sustained a hull damage that ruptured the tanker. During the following week, an



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estimated 28,000 ton of crude oil spilled into the sea and started coming ashore. Air
pollution resulted from the release of approximately 11,000 ton of volatile organic
compounds (VOCs) that had entered the air after the spillage. The VOCs sampled at
various areas surrounding the city ranged from 44 ppm to 179 ppm. A pungent odor was
reported and mist vapor was perceptible at a distance of about 2-4 km from the beach
area. The residents and workers were exposed to VOCs at 40 to 170 ppm. (Meo, 2009)

    Crude oil is a combination of various chemical compounds, including mainly para-
phenols and aromatic hydrocarbons. Among the aromatic hydrocarbons, of toxicological
interest are benzene, alkyl benzene and polycyclic aromatic hydrocarbons (PAHs) along
with trace amounts of metals. Crude oil spillage in the sea is thought to produce health
effects including cough, shortness of breath, sore throat, runny nose, asthmatic attacks,
redness of eyes, nausea, vomiting, abdominal pain, diarrhea, headache, dizziness, back
and leg pain. In the present study [Tasmin Spirit Oil Spill], the subjects involved in oil
cleanup operations showed a high prevalence of cough (38%), runny nose (36%), eye
irritation/redness (32%), sore throat (28%), headache (28%), nausea (24%), and general
illness (18%). (Meo, 2009)

   On January 5, 199e, the oil tanker MV Braer on passage from Norway to Quebec lost
engine power and drifted. A combination of strong winds and local currents grounded
and wrecked it upon a rocky shoreline at the Garths Ness near Shetland, Scotland. Over
the next 6 days, it leaked its cargo of 25 million gallon (85,000 tons) of Norwegian
Gullfaks crude oil into the sea. The maximum discharge occurred as the ship broke up on
January 11, 1993. Concerns were raised about the health consequences among the
population exposed to the oil spill. Crum (1994) demonstrated that individuals exposed
to crude oil at the grounding of the Braer oil tanker developed headache, irritation of the
eyes, throat and skin. Similarly, Campbell et al., (1994) noted that the exposed group
experienced symptoms of bruising, unsteadiness, weakness, cramps, eyesight problems,
wheezing and breathlessness. (Meo, 2009)

    On February 15, 1996, the oil tanker Sea Empress, carrying a cargo of 140,000 tons of
crude oil, ran aground on the rocky shoreline at the entrance of the Milford Haven harbor
in southwest Wales, United Kingdom. By the next week, more than 72,000 tons of crude
oil spilled into the sea, contaminating approximately 200 km of the coastline. The oil
spill from this tanker had strong pungent odors associated with it, leading to health
complaints from the residents of the coastal towns. Lyons et al. reported general illness,
headache, nausea, vomiting, diarrhea, sore eyes, runny nose, sore throat, cough, itchy
skin, shortness of breath, anxiety and depression. (Sea Empress Oil Spill) (D’Andrea,
2014)

   Early on the morning of December 7, 2007, an oil tanker, the Hebei Spirit, carrying
263,000 KL of crude oil from the United Arab Emirates to Daesan Harbor on the western
coast of Korea crashed into a crane ship, spilling 12,547 KL (about 10,900 tons) of oil
into the sea. The oil rapidly spread over 1,052 km or 3,000 ha of coastal line, damaging
marine animals and beaches that used to attract millions of people each year by their
natural beauty. By July 2008, the number of people participating in the cleanup activity



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reached more than 2 million person-days, the majority of which were volunteers. These
workers were not properly protected, especially during the first few days of the accident.
As a result, these individuals were exposed to volatile organic compounds, (VOCs),
polycyclic aromatic hydrocarbons (PAHs) and metals including metallic mercury.
(Cheong, 2011)

   The urinary metabolites of PAHs did not show significant difference between clean-up
participants and referents. The samples of 2nd and 3rd week in the cleanup work
participants showed significantly higher levels of both 2-naphthol and 1-
hydroxypyrene than those of the 5th to 6th week (p = 0.02 and < 0.001, respectively).
(Cheong, 2011- the Hebei Spirit oil spill)

   Residents whose urinary hippuric acid level ( was higher than the median level
reported significantly increased symptoms of nasal irritation odds ratio OR = 2.97
95% CI ( 1.30 to 6.79), nausea and vomiting sensation (OR = 3.01 95% CI (1.22-
7.42) while those whose urinary methyl-hippuric acid level (xylene) was higher than
the median level more frequently reported fatigue and fever (OR = 4.38 95% CI
(1.25-15.37) than those whose urinary level was median or lower. Residents with
higher levels of 1-hydroxypyrene (PAH) showed four times more musculoskeletal
symptoms (OR = 4.16 95% CI (1.10-15.68). Eye irritation symptoms were reported
20 times more often and skin irritation symptoms were reported five times more
often among those with higher lead levels. Eye irritation symptoms were reported
five times more often among individuals with urinary mercury levels. Skin
irritation symptoms were reported two times more frequently and headache and
palpitation was two to four times higher among individuals with higher urinary nickel
and cadmium levels respectively. (Cheong, 2011- the Hebei Spirit oil spill)




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                                                       Cheong, 2011 Figure 2


    The urinary metabolites of benzene include the following: urinary benzene level,
trans, trans-muconic acid, S-phenyl mercapturic acid, hydroquinone, catechol, 1,2,4-
trihydroxybenzene, and phenol. Toluene metabolites used as biological indicators of
exposure include the following: Hippuric acid, ortho-cresol, m-cresol, and p-cresol.
Ortho-cresol is most commonly used. The Xylene urinary metabolites used for
biomarkers is methylhippuric acid. Ethylbenzene urinary levels of mandelic acid and/or
phenylglyoxylic acid are used as biomarkers. However, these are also elevated following
exposure to styrene. (Qu Q, 2000; ATSDR, October 2017; Pierce CH, 2002; ATSDR,
September 2011; Waidyanatha S, 2001; Langman JM, 1994)

    Residents exposed to oil remnants through cleanup work showed associations between
physical symptoms and the exposure levels defined by the days of work, degree of skin
contamination, and levels of some urinary exposure biomarkers of VOC metabolites and
metals. The symptom prevalence in visual disturbance, nausea/vomiting, abdominal
pain, palpitation, and skin irritation decreased from 2nd or 3rd week to 4th or 5th week and
then increased at 6th and 8th week while others continuously increased from earlier time to
later. At 8 weeks after the disaster, the most common subjective symptoms included eye
irritation (86.1%), musculoskeletal symptom (86.1%), headache (84.7%), fatigue/fever
(83.3%), nasal irritation (83.3%), dermal irritation (81.7%), sore throats (73.6%), back
pain (73.6%), bronchial irritation (72.2%), nausea/vomiting (72.2%), memory/cognitive
disturbance (62.5%), visual disturbances (61.1%), palpitation (56.3%), and abdominal
pain (50.0%). The crude oil initially evaporated strong volatile chemicals and then


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abruptly decreased in one or two weeks while PAHs evaporated slowly and continuously.
Therefore, during working in contaminated coasts, the irritation symptoms mainly due to
VOC exposure decreased accordingly. The fact that the complaint of symptoms
increased as the days of the clean-up work increased indicates that the symptoms were
actually associated with the hazardous effects of crude oil exposure. (Cheong, 2011;
D’Andrea, 2014- the Hebei Spirit oil spill)

    In May 2000, a crude oil pipeline of the major oil-producing company ruptured in
Etiama Membe in Bayelsa State, Nigeria. The surrounding local communities were
contaminated heavily with the spilled oil. To investigate the health effects of this oil
contamination, Ordinioha and Sawyer (2010) conducted a study among the residents in
the affected community. The study investigators assessed the acute health effects of the
oil spill in 210 exposed subjects, and their outcomes were compared with those of 210
unexposed subjects. The findings of the study indicated that exposure in the prevalence
of several physical symptoms including diarrhea (OR = 4.6; P <0.0001); cough (OR =
4.13; P < 0.0001); headaches (OR = 3.84; P < 0.0001); sore throats (OR = 6.49; P <
0.0001); itchy eyes (OR = 10.93; P < 0.0001); itchy skin (OR = 13.48; P < 0.00001);
and occupational injuries (OR = 5.29; P < 0.0005).


9.0 Particulate Matter and Conjunctivitis

   Discomfort eye syndrome (DES) comprises a series of “minor” subjective symptoms
in patients where no relevant clinical signs are observed suggesting ocular disease.
Versura et al., 1997, demonstrated that the ocular surface cytology and the analysis of
tear film changes provide significant information in those patients where no other clinical
signs are evident. In addition, DES is significantly associated with ocular surface
inflammation, as detected by cytological methods, and ocular surface subclinical
inflammation and ocular dryness are related to high concentrations of atmospheric
polluters, in both sexes. (Versura, 1997)

   In this study, it was found that an ever increasing number of patients came to the First
Aid Service of the Department of Ophthalmology of the University of Bologna, Italy,
suffering from eye discomfort (discomfort eye syndrome, DES). The DES patients
complained of a variety of “minor” subjective symptoms heaviness of the lids, foreign
body sensation, burning, stinging, and photophobia; the clinical observation of the
subjects did not show, however, any significant sign suggesting ocular disease. (Versura,
1997)

   To determine a mechanistic explanation for the subclinical findings of the subjects,
cytology scraping of the conjunctiva was performed and evaluated. The subclinical
findings were related to the urban pollution of their environments. Dry eye has been
defined as “a disorder of the tear film due to tear deficiency or excessive tear evaporation
which cause damage to the interpalpebral ocular surface and is associated with symptoms
of ocular discomfort. (Versura, 1997)




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    The data showed that tear film components and stability, presence of inflammatory
cells and degree of dryness can change one by one. This suggests that Discomfort Eye
Syndrome may also be produced by the impairment of only one component of the eye
surface. This is consistent with the hypothesis that the ocular surface is a functional unit
represented by the cornea and the conjunctival epithelia, the tear film and the
glycocaliceal junction between the two. Whenever one of these components changes its
functional, physical or chemical characteristics, the equilibrium with the others can also
change and ocular discomfort is the final result. Versura et al. have detected the presence
of inflammation in a significantly high percentage of patients where no clinical evidence
of ocular inflammation or other ocular disease had been observed. This finding shows
the importance of cytological analysis in those cases where the clinical observation does
not lead to a diagnosis. (Versura, 1997)

   The presence of moderate or intense subclinical inflammation appears to be related
with the different patients’ living zones; the highest number of moderate or intense ocular
inflammation is present downtown and progressively diminishes in the countryside. The
subjects in the study had been exposed to a mixture of chemical pollutants, therefore it is
not possible to establish which of them is responsible for injury. Direct exposure of the
ocular surfaces to various irritant substances causes neurogenic conjunctival vasodilation
and immediate tear secretion. Chemical substances can solubilize in tears and possibly
sensitize specific lymphocyte subpopulations, as it has been demonstrated to occur for
SO2 in the bronchial mucus; this produces chronic inflammation after a prolonged
exposure through a cell-mediated reaction. The finding of mononuclear cells being the
cells mainly responsible for subclinical ocular inflammation in our group. Inflammation
appears to influence conjunctival epithelial transdifferentiation and goblet cell density.
(Versura, 1997)

    The patients in this study showed a significant positive correlation between dryness
and pollution according to the different living zones; The highest percentage of ocular
dryness is present downtown and progressively decreases in the countryside. The imprint
cytology scores are summarized as follows: A normal ocular surface morphology (stage
0) was shown in 31% while an early loss of goblet cells without keratinization (stage 1)
was found in another 49% of patients. Total loss of goblet ells without keratinization
(stage 2) was detected in 15% of patients, and in the remaining 5% a mild keratinization
(stage 3) was observed. The number of women exceeds here also that of men with
pathological ranges. The analysis of the data derived from imprint cytology correlated
with the patients’ living zone, demonstrated significant differences among the groups.
Mononuclear cells were detected significantly more often than neutrophilic granulocytes;
eosinophils were never detected. A high percentage of patients from the countryside
shows the presence of inflammatory cells within normal ranges as compared to patients
living in town. The incidence of moderate or intense inflammation was conversely
significantly higher in the patients living in town as compared to those living in the
countryside. (Versura, 1997)

   Air pollution causes diverse health effects and diseases. Dense innervation in the
ocular surface are extremely sensitive to environmental agents. Furthermore, the eyes are



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protected by only a thin layer of tear film from potentially damaging exgterior influences.
Thus, human eyes are very susceptible to ill effects of air pollution. The ill effects of air
pollution on human eyes are mostly irritation and inflammation, with conjunctivitis being
a significant problem. Conjunctivitis is one of the most commonly diagnosed conditions
in ophthalmologic outpatient and emergency room visits. Conjunctival disorders induced
by air pollution can be subclinical ocular surface changes, but may have serious
discomforts such as burning and irritation that require clinical visits. Chronic exposure to
air pollution can induce cellular change, such as goblet-cell hyperplasia in the ocular
surface. (Chang, 2019)

   This study investigates the relationship between air pollution and outpatient visits for
nonspecific conjunctivitis from seven air-quality monitoring areas in Taiwan. The
effects on outpatient visits for nonspecific conjunctivitis are strongest for O3 and NO2 .
Effects are also found for particulate matter with an aerodynamic diameter ≤ 10 um
(PM10) and SO2. Effects are more prominent in winter because the analysis was stratified
according to season. For O3 and PM10 the association for nonspecific conjunctivitis for
the lag 0 in winter were found to be a 2.6% (95% CI (0.2-5.0) and a 2.5% 95% CI (0.7-
4.3) increase in winter. In this study only PM with a larger diameter (PM10) had a
significant impact on the number of outpatient visits. This might be due to the coarse
PM, causing stronger foreign body sensations, whereas the fine PM is easily cleaned
from the ocular surface with tears, without inducing ocular discomfort. (Chang, 2019)

   Lu et al., 2019, reports that increases in PM2.5, PM10, NO2, SO2, and O3 were
significantly associated with the increase of conjunctivitis outpatient visits in China.
PM2.5 and PM10 in this study showed significant association with conjunctivitis outpatient
visits on the current day. Particulate matter is a complex component with metal
compounds such as nickel, aluminum, silicon, titanium dioxide, which have been
reported to be correlated with ocular symptoms. The Attributable Fraction of
conjunctivitis outpatient visits due to air pollutants at lag 0 are as follows:
PM2.5 Attributable fraction = 3.12% 95% CI (1.26% - 4.93%)
PM10 Attributable fraction = 4.01% 95% CI (1.92% - 6.05%)

(Lu, et al., 2019)

    The purpose of the Mimura et al. study was to examine the association of PM 2.5 with
outpatient attendance for allergic conjunctivitis in Japan. There was a significant
association between the number of outpatient visits for allergic conjunctivitis and the
PM2.5 level (r = 0.62, p = 00177) from May to July. Multivariate analysis also showed
that PM 2.5 was a significant predictor of the number of outpatient visits from May to
July (Odds ratio = 9.05, p = 0.0463). This study provided further evidence that the ocular
surface can be adversely affected by airborne particulate matter. The PM2.5 level was
the only independent predictor of outpatient visits for allergic conjunctivitis during the
non-pollen season (May to July). The PM 2.5 may contribute to the pathophysiology of
allergic conjunctivitis and it may be worth paying more attention to the health
implications of PM2.5 with respect to toxicity for the ocular surface. (Mimura et al.,
2014)



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   Conjunctivitis is a common population health burden with costs that include reduced
quality of life, unnecessary antibiotic use, and lost school/work productivity impacts.
This study supports the thesis that there is an association between ambient air pollution
and the incidence of conjunctivitis across Ontario, Canada. Information from the
National Ambulatory Care Reporting System was used to create time-series records, for
the period of April 2004 to December 2011, on emergency department visits of patients
suffering from conjunctivitis. A total of 77,439 emergency department visits for
conjunctivitis were analyzed. A time-stratified case-crossover design was applied,
completed with meta-analysis in order to pol inter-city results. Odds ratio (OR) for an
emergency department visit was calculated in different population strata per one-unit
increase while controlling for the impacts of temperature and relative humidity
(Szyszkowicz, 2016)

   Statistically significant positive results were observed in the female population sample
for fine particulate matter with a median aerodynamic diameter of less than 2.5 um
(PM2.5), for lags 6 and 7 days, with the highest result for lag 7 (OR = 1.017, 95% CI;
1.003-1031). In the male population sample, statistically significant positive results were
observed for PM2.5 exposure lagged by 5 days (OR = 1.003, 95% CI; 1.000-1.038). The
cox proportional hazard regression (PROC PHREG) procedure in SAS Visual Analytics
(Enterprise Guide, version 4.2 was used in statistical calculations. (Szyszkowicz, 2016)

   Fu et al., 2017, performed a study to investigate the potential association between
conjunctivitis and air pollution in Hangzhou, China. To investigate the association
between single pollutants and outpatient visits for conjunctivitis, the single pollutant
model was applied. The results showed significant associations between outpatient visits
for conjunctivitis and a 10 ug/m3 increase in the concentrations of PM 10, Pm2.5, SO2,
NO2, and CO. We observed significant associations between outpatient visits for
conjunctivitis and the following PM10:
PM10 in lags of 0 days, OR = 1.0068, 95% CI: 1.0011, 1.0124
PM10 in lag of 0-1 day OR = 1.0077, 95% CI: 1.0011, 1.0145

A significant association between outpatient visits for conjunctivitis and the following
PM 2.5:
PM2.5 on lag 0        OR = 1.0092, 95% CI: 1.0002, 1.0183
       on lag 5       OR = 0.9905, 95% CI: 0.9817, 0.9993
       on 0-1 days OR = 1.0107, 95% CI: 1.0002, 10213

(Fu et al., 2017)

   Lee et al., 2018, performed a study of 769 residents of Daegu, Korea who had visited
an emergency room for the problem of conjunctivitis or keratitis. Concentrations of
PM10 and other air pollutants were obtained from the Korean Ministry of the
Environment. PM10 concentrations and the number of patients from each of 143
administrative dongs (sub-municipal level administrative units) of the city of Daegu were
obtained using spatial analysis. The patient distribution and PM10 concentration were



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mapped for comparison, and their relationship was examined using scatter plot,
regression analysis, and the independent sample t-test.

   Between June 2006 and December 2014, the average PM10 concentration was 48.15
ug/m3, the minimum was 27 ug/m3, and the maximum was 86 ug/m3. The results showed
that the top 20% areas had significantly higher numbers of emergency patients for
conjunctivitis (p < 0.01) and keratitis (p < 0.05) than the bottom 20% areas. The
concentration of PM10 and the number of patients showed a dose-response relationship.
(Lee et al., 2018)

    Ko et al., 2016, performed a study to determine the correlation between acute
conjunctivitis and Asian dust on ocular surfaces. Forty-five patients from the Fukuoka
area who were newly diagnosed acute conjunctivitis were selected. The degrees of
inflammatory reaction, itchy sensation, hyperemia, eye discharge, and foreign body
sensation were clinically recorded and scored. Eyes were washed with physiological
solution. Solid particles collected from the washing solution were observed using a
scanning electron microscope. Of the 45 samples, 44 were positive for the elements
silicon (Si) and aluminum (Al), which are components of ambient Asian dust. Higher
conjunctivitis scores were found in the subgroup in which the Asian dust/whole particle
ratio was greater than average.




   Tang et al., 2019, developed a murine model of acute allergic conjunctivitis induced
by continuous exposure to Particulate Matter 2.5. ICR mice were challenged for 18
consecutive days with eye drops containing PM2.5 at 3.2, 6.4, and 12.8 mg/ml in 0.9%
NaCl saline. Controls were prepared in parallel without pM2.5 and another control group
treated with both PM2.5 at we.8 mg/ml and artificial tears. On day 19, the whole eyes
and meibomian glands were harvested for histological analyses and assessment of clinical
scoring, tear volume, tear breakup time, and tear ferning. Goblet cells stained with
periodic acid Schiff stain and infiltrated eosinophils stained by Giemsa stain were
quantified and compared among the study groups. (Tang et al., 2019)

   Clinical scoring showed more eyelid edema, tearing, and scratching behaviors, with
longer tear breakup time under the influence of increased PM2.5 concentrations. Tear
ferning assay showed less tear crystal formation and decreased crystal branches after
exposure to PM2.5. In addition, higher goblet cell density in the upper palpebral
conjunctiva and extensive eosinophil infiltration in the entire conjunctiva and in the
meibomian glands were induced by PM2.5. This model provides evidence that PM2.5
can induce symptoms similar to clinical allergic conjunctivitis and that the murine acute


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allergic conjunctivitis model can be induced by direct exposure to PM2.5. (Tang et al.,
2019)

9.1 Particulate Matter and Upper Airway Disease

   Epidemiological studies have shown that air pollutants aggravate airway diseases
including asthma, bronchitis, chronic obstructive pulmonary disorder, allergic and
nonallergic rhinitis, sinusitis, and otitis media. Particulate matter, photochemical
pollutants, and ozone are associated with such conditions. Reactive oxygen species,
apoptosis, and inflammation are all in play. (Jang et al., 2016)

   Air pollution adversely affects human health. The principal pollutants include
particulate matter, ozone, and nitrogen dioxide (NO2). Air pollutants constitute a toxic
mixture of particles and gases emitted in large quantities from many different combustion
sources, including vehicles and factories. Air pollution is thought to be an important risk
factor for the development of upper airway disease. (Jang et al., 2016)

    Sand dust is a major problem in East Asia; particulate matter of aerodynamic diameter
less than 10 um (PM10) is of particular concern. Epidemiological studies have shown
that air pollution increases the prevalence of respiratory diseases in children. Significant
increases in hospital admissions for asthma, allergic rhinitis, and upper and lower
respiratory tract diseases have been observed. In a previous study, the adjusted odds
ratios for exposure to PM2.5 (at increments of 10 ug/m3) were 1.15 and 1.21 for
asthma and allergic rhinitis combined with asthma, respectively. PM10 exposure
significantly increased hospital admissions for all conditions studied, including asthma,
allergic rhinitis, and upper and lower respiratory tract diseases. (Jang et al., 2016)

    In terms of duration, acute rhinosinusitis is defined as rhinosinusitis that persists for
less than 12 weeks whereas chronic rhinosinusitis is of longer duration. As rhinosinusitis
is heterogeneous in nature, various treatment regimens have been developed. In a large,
well designed cross-sectional study, Bhattacharyya found that air quality was associated
with the prevalence of rhinosinusitis. As air quality improved, the incidence of
rhinosinusitis fell. Wolf reported positive correlations between the numbers of chronic
rhinosinusitis patients and air pollution in Germany. (Jang et al., 2016)

   The development of rhinosinusitis is also influenced by occupational environment. A
recent study showed that chronic rhinosinusitis is more prevalent in those occupationally
exposed to gases, fumes, dust, or smoke. (Jang et al., 2016)

   Air Quality influences the prevalence of hay fever and sinusitis. The National Health
Interview Survey for the calendar years 1997-2006 adult sample was analyzed to
determine for each calendar year the one-year period prevalence of the two respiratory
conditions, hay fever and sinusitis and the nonrespiratory (control) condition,
weak/failing kidneys. A total of 313,982 patients were studied over the 10 calendar years
1997-2006. For each of the disease conditions (hay fever and sinusitis) a statistically
significant relationship with air quality was obtained (p<0.001). In addition, the



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decreasing concentrations of the criteria pollutants exhibited a statistically significant and
mathematically much larger decrease in the prevalence of both hay fever and sinusitis.
(Bhattacharyya, 2009)

   Nachman and Parker, 2012, studied relationships between chronic exposures to air
pollution and respiratory health outcomes. The objectives of this study are to evaluate
the relationship between annual average ambient fine particulate matter (PM2.5)
concentrations and respiratory outcomes for adults using modeled air pollution and health
outcome data and to examine PM2.5 sensitivity across race/ethnicity. PM2.5
concentrations and self-reported prevalence of respiratory outcomes including asthma,
sinusitis and chronic bronchitis. Significant associations for sinusitis were observed:
   Overall AOR = 1.18 95% CI (1.08-1.30)
   Non-Hispanic whites AOR = 1.31 95% CI (1.18-1.46)

   Increased chronic PM2.5 exposures in adults may contribute to population sinusitis
burdens. (Nachman and Parker, 2012)

    D’Andrea and Reddy studied the development of long-term adverse health effects in
oil spill cleanup workers of the Deepwater Horizon Drilling Rig Disaster. The incidence
of illness symptoms and health complaints in the oil spill cleanup workers was compared
from their initial to their follow-up visits 5 years after the Gulf Oil Spill exposure. Illness
symptoms and the incidence at the initial visit and at 5-year follow-up were as follows:

Illness symptom                         Initial Visit              5-Year Follow-up
                                          N = 44                       N = 44__________
Shortness of breath                        33 (75%)                    37 (84%)
Frequent headaches                         28 (64%)                   30 (68%)
Rash                                       23 (52%)                    24 (55%)
Chronic cough                              20 (45%)                   21 (48%)
Nasal obstruction                           7 (16%)                    10 (23%)
Chronic rhinosinusitis                       0 (0%)                    40 (91%)
Reactive airway dysfunction                  0 (0%)                    20 (45%)
    syndrome

   At the 7-year follow-up visit, 91% of the oil spill exposed subjects had progressive
deterioration of their respiratory system and developed chronic rhinosinusitis and 45% of
the exposed workers had developed chronic reactive airway dysfunction syndrome as
new symptoms that were not reported during their initial visit. (D’Andrea and Reddy,
2018) D’Andrea and Reddy

   There is often overlap of rhinitis with chronic rhinosinusitis (CRS) disease
presentation. CRS with nasal polyposis (CRSwNP) and without nasal polyposis
(CRSsNP) is driven by chronic inflammation with manifestations beyond rhinitis
symptoms and clinical findings alone. Studies have shown that air pollutants (AP) induce
nasal inflammation, suggesting a possible role of nonallergen exposures in Non-Allergic
Rhinitis-mediated (NAR) inflammation. PM2.5 consists of fine inhalable particles



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measuring ≤ 2.5 um in diameter. Black carbon (BC), which denotes the light-absorbing
components of aerosols that contain 2 forms of elemental carbon, is a major component
of particulate matter (PM) and is directly emitted into the atmosphere in the form of
PM2.5. Mady et al, studied the impact of inhalant pollutants (PM2.5) and black carbon
(BC) n allergic rhinitis and chronic rhinosinusitis (CRS) disease severity. (Mady et al,
2018)

   The geographic distribution of air pollutants (AP) was determined using spatial
modeling for patients in the study. There were significant differences in AP levels
between allergy-negative and –positive patients. Pm2.5 concentration measured, on
average11.32 ug/m3 in nonallergic patients, compared with 11.07 ug/m3 in allergic
patients (p = 0.030). BC was, on average, 0.81 absorbance (abs) among allergy-negative
patients, compared with 0.76 abs among allergy-positive patients (p = 0.044). Mean PM
2.5 and BC were not significantly different between patients with or without asthma.
(Mady et al, 2018)

   Nonallergic CRSwNP (chronic rhinosinusitis with nasal polyposis) demonstrated
statistically significantly higher mean average PM2.5 than their allergy-positive
counterparts (11.48 vs 11.09 ug/m3, p = 0.032) A similar pattern was observed for BC
(0.82 vs 0.75 abs, p = 0.017). Nonallergic polyp patients were also found to have a
significant difference in PM2.5 compared with allergic non-polyp patients (11.48 vs
11.04 ug/m3, p = 0.023). A similar, but not statistically significant trend was observed in
BC levels. (Mady et al, 2018)

    The results suggest that small inhalant pollutants may contribute to nonallergic
symptomatology in CRS patients. Regardless of allergy status, our findings propose that
air pollutants may play a role in CRSsNP (CRS without polyposis) symptom severity.
This study is the first to evaluate objectively the influence of AP exposures in rhinitis
disease expression among CRS phenotypes. These findings may partly explain persistent
rhinitis symptoms in allergy test-negative patients, which are often labeled with a
diagnosis of chronic rhinitis. Through this pilot study, the findings highlight the potential
role of environmental factors in differential disease expression and provide insight into
potentially underlying etiologies of chronic rhinitis. (Mady et al, 2018)

    Allergy has been inferred to contribute to the pathophysiology of chronic
rhinosinusitis (CRS) although this role is controversial. Common aeroallergens
implicated in chronic rhinosinusitis include air pollution/second hand smoke, dust mite
and pollen. One emerging potential mechanism whereby aeroallergens contribute to CRS
is through sinonasal epithelial barrier disruption. Characterization of cytokine disruption
of sinonasal epithelial cell barrier has been described including interleukin (IL)-4 and IL-
13, as well as aeroallergens such as house dust mite and cigarette smoke. Recent results
have demonstrated severe barrier disruption in response to direct application of either
particulate matter (PM or house dust mite (HDM) to sinonasal epithelial cells. Sinonasal
epithelial barrier disruption may contribute to CRS by enabling the perpetual and chronic
exposure of inflammatory allergens and stimuli. The sinonasal epithelial barrier plays a
significant role in innate immune host defense. Mechanisms of innate immune defense



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include pattern recognition receptors (PRRs), secreted endogenous antimicrobials and
inflammatory cytokines that aid in repair mechanisms including IL-33. Recent evidence
implicates aeroallergens and dysregulated host innate immune responses in the
development of CRS. (London, et al., 2016)

   The size, morphology and component of PM2.5 play key roles in the adverse effects
on human health. Generally, smaller PM has higher health risks. PM 2.5 is a small
particulate, which is inhalable and able to penetrate to tissues. Due to numerous sources,
the chemical constituents of PM2.5 can contain nitrate, sulfate, ammonium, metals and
poly aromatic hydrocarbons (PAHs). Metals, PAHs, biological agents and ultrafine
particles that adhere to particles are considered to be the constituents that have adverse
effects on the respiratory system. Inhaled PM2.5 makes contact with human nasal
epithelial cells and may impair the function of these cells, thereby causing nasal
inflammatory diseases such as chronic and allergic rhinitis. (Hong et al., 2016).

    Oxidative stress is a state of inbalance between oxidation and anti-oxidation, and plays
an important role in the pathology of many human diseases. One source of oxidative
stresses results from the generation of reactive oxygen species (ROS). PM2.5 can induce
ROS that directly interact with superoxide dismutase (SOD), catalase (CAT) and
glutathione peroxidase (GSH-Px), and alter their enzymatic activities. Nuclear factor
NF-E2-related factor-2 (Nrf2) plays a key role in keeping cellular redox balance by
protecting cells from oxidative stress. The activation of Nrf2 increases the expression of
antioxidant enzymes, which in turn removes ROS and decreases cell damage However,
whether PM2.5 alters the activity of Nrf2 remains elusive. (Hong et al., 2016).

    In addition, airway epithelial cells play a key role in nasal inflammatory diseases by
producing and releasing numerous inflammatory cytokines, leading to inflammatory
response. Previous studies have suggested that PM2.5 has a potential to stimulate cells to
produce and release inflammatory cytokines. In vitro studies have found that diesel
exhaust particles (DEP) and PM increase the expression of granulocyte-macrophage
colony-stimulating factor (GM-CSF), tumor necrosis factor-α (TNF- α), interleukin 8 (IL-
8), IL-6, IL-1β and eotaxin in airway epithelial cells. Since nasal epithelial cells function
as the first epithelial barrier in the nasal cavity to protect from inhaled particles PM2.5
may induce inflammatory responses in nasal epithelial cells. (Hong et al., 2016).

   Hong et al., 2016, used human RpMI 2650 cells, derived from squamous cell
carcinoma of the nasal septum, as a model of nasal epithelial cells, and exposed them to
PM2.5 that was collected at Fudan University in Shanghai, China. PM2.5 exposure
decreased the viability of RPMI 2650 cells, suggesting that PM2.5 may impair the barrier
function of nasal epithelial cells. Moreover Pm2.5 increased the levels of intracellular
reactive oxygen species (ROS) and the nuclear translocation of NF-E2-related factor-2
(Nrf2). Importantly PM2.5 also decreased the activities of superoxide dismutase, catalase
and glutathione peroxidase. In addition, PM2.5 increased the production of granulocyte-
macrophage colony-stimulating factor, tumor necrosis factor- α, interleukin-13 and
eotaxin (C-C motif chemokine ligand 11), each of which initiates and/or augments local
inflammation. These results suggest that PM2.5 may induce oxidative stress and



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inflammatory responses in human nasal epithelial cells, thereby leading to nasal
inflammatory diseases. (Hong et al., 2016).

   Chen et al., 2006 demonstrated a marked difference in stimulated Ciliary Beat
Frequency (CBF) in human sinonasal mucosal explants. Dynamic regulation of
respiratory ciliary activity is critical for the respiratory epithelium to adapt to varying
environmental situations. Thus, diminished or absent adaptation could predispose the
sinonasal cavity to accumulation of inhaled infectious and noxious particulate matter
resulting in infection/inflammation. The findings suggest that Chronic RhinoSinusitis
(CRS) patients have decreased sinonasal ciliary adaptation to environmental stimuli.

    Zhao et al., 2018, studied the effects of PM2.5 on mucus secretion and tissue
remodeling in a rabbit model of chronic rhinosinusitis. PM2.5 exposure substantially
aggravated ciliary disruption in rabbits with CRS. PM2.5 also significantly increased
goblet cell hyperplasia and collagen deposition, as reflected by PAS staining of goblet
cells and Masson Trichrome staining for collagen. The nasal mucosa of CRS rabbits
displayed markedly elevated MUC5AC expression after PM2.5 exposure. Increases in
ciliary disruption, nasal remodeling, and mucus hypersecretion may be the
pathophysiologic mechanisms underlying the PM2.5-induced aggravation of CRS.

   Ramanathan et al., 2017, tested the impact of chronic airborne PM exposure on the
upper respiratory system in vivo. Mice were subjected by inhalation to concentrated fine
PM2.5. Mice were then killed and analyzed for evidence of inflammation and barrier
breakdown compared with control mice. Evidence of the destructive effects of chronic
airborne PM on sinonasal health in vivo, including proinflammatory cytokine release, and
macrophage and neutrophil inflammatory ell accumulation was observed. A significant
increase in epithelial barrier dysfunction was observed, as assessed by serum albumin
accumulation in nasal airway lavage fluid, as well as decreased expression of adhesion
molecules, including claudin-1 and epithelial cadherin. A significant increase in
eosinophilic inflammation, including increased IL-13, eotaxin-1, and eosinophil
accumulation, was also observed. These studies demonstrate the destructive effects of
chronic airborne PM exposure on the sinonasal airway barrier disruption and nonallergic
eosinophilic inflammation in mice.

   Song et al., 2016, used cell cultures to study Let-7a effect on particulate matter 2.5
induced oxidative stress and injury in human airway epithelial cells. The let-7a is the
most significantly decreased among the let-7 miRNA family members in B2B cells
exposed to PM2.5. Decreased let-7a resulted in increased ARG2 expression, leading to
elevated oxidative stress status and increased cell damage and apoptosis.


10.0 General Structure of the Lung

   The Respiratory system consists of the paired lungs and a series of air passages that
lead to and from the lungs. Within the lung, the air passages branch into increasingly
smaller tubes until the very smallest air spaces, called alveoli, are reached. (Pawlina,



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2016)




    Three principal functions are performed by this system: air conduction, air filtration,
and gas exchange (respiration). Gas exchange occurs in the alveoli. The air passages of
the respiratory system consist of a conducting portion and a respiratory portion. The
conducting portion of the respiratory system consists of those air passages that lead to the
sites of respiration within the lung where gas exchange takes place. The conducting
passages include those located outside as well as within the lungs. The passages external
to the lungs consist of the following:
    • nasal cavities—two large air-filled spaces in the uppermost part of the respiratory
         system;
    • oral cavity—resides inferior to the nasal cavities and used during forced
         breathing;
    • nasopharynx—lies behind the nasal cavities and above the level of the soft palate
         and communicates inferiorly with the oropharynx that is posterior to the oral
         cavity
    • larynx—a hallow tubular organ containing the cartilaginous framework
         responsible for producing sounds;
    • trachea—a flexible air tube that extends from the larynx to the thorax; serves as a
         conduit for air, and in the mediastinum bifurcates into paired main bronchi; paired
         main primary bronchi that enter the root of the right or left lung.

Within the lungs, the main bronchi undergo extensive branching to give rise ultimately to
the distributing bronchioles, which are the terminal part of the conducting passages.
Collectively, the internal bronchi and the bronchioles constitute the bronchial tree.
(Pawlina, 2016)



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                                                                                Lining the trachea and other parts of the
                                                                                conducting branches, is ciliated
                                                                                epithelium that secretes mucous and
                                                                                moves particles upward away from the
                                                                                delicate alveoli. The cilia of this
                                                                                respiratory epithelium beat in unison
                                                                                bringing particles away from the lung
                                                                                toward the orpharynx to be swallowed to
                                                                                the intestines.




                                                                                Pseudostratified Ciliated Columnar
                                                                                Epithelium




   The respiratory portion is that part of the respiratory tract in which gas
exchange occurs. Sequentially, it includes: respiratory bronchioles,
alveolar ducts, alveolar sacs, and alveoli, which are the primary sites of
gas exchange. (Pawlina, 2016)




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                                                 Alveoli
                                                 of Lung
                                                 250-300 μm
                                                 (.25-.3 mm)
                                                  in diameter

                                                 Respirable particles:
                                                 ≤ 2.5 μm
                                                 Non-respirable
                                                 Particles: >2.5 μm

                                                 About 150-250 million
                                                 Alveoli in adult lung




    Blood vessels enter the lung with the bronchi. The arteries branch into smaller vessels
as they follow the bronchial tree into the substance of the lung. Capillaries come into
intimate contact with the terminal respiratory units, the alveoli. (Pawlina, 2016)



                                                           This intimate relationship between the
                                                           alveolar air spaces and the pulmonary
                                                           capillaries is the structural basis for gas
                                                           exchange within the lung parenchyma.
                                                           (Pawlina, 2016)




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        Electron micrograph of lung alveoli in close apposition to blood capillaries
(Pawlina, 2016)

   Alveolar macrophages, which are derived from blood monocytes, are phagocytic cells
that reside in alveoli and in connective tissue. In the alveoli, they scavenge the surface to
remove inhaled particulate matter (dust, etc.). Some engorged macrophages pass up the
bronchial tree in the mucus and are disposed of by swallowing or expectoration when
they reach the pharynx. Other macrophages leave the air spaces and return to the
connective tissue, where, filled with accumulated phagocytized material, they may
remain for much of an individual’s life. (Pawlina, 2016)




Section 13.0 Particulate Matter



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    Particle pollution is a mixture of microscopic solids and liquid droplets suspended in
air. This pollution, also known as particulate matter, is made up of a number of
components, including acids (such as nitrates and sulfates), organic chemicals, metals,
soil or dust particles, and allergens (such as fragments of pollen or mold spores).
(EPA,2003)

    The effect of particles on the human body is related to the diameter of the particle
itself. Normally, large-diameter particles will be filtered through nasal cilia and mucus
and cannot pass through the nose and throat. Particles with a diameter of less than 10um
can infiltrate the lungs and bronchial alveolar structures. Particles with a diameter of less
than 2.5 um have a greater penetration potential. They may infiltrate the fine bronchial
wall and interfere with gas exchange in the lungs.. These particles can eventually enter
the blood vessels, where they might impact other parts of the body through blood
circulation, making PM2.5 more detrimental. Burnett et al, surveyed eight cities in
Canada and found that smaller particles cause more serious damage to the human body.
Atmospheric particulate matter increases the occurrence rate of mortality, asthma,
atherosclerosis, and diabetes. (Tan et al., 2018)

   The size of particles is directly linked to their potential for causing health problems.
Small particles less than 10 micrometers in diameter pose the greatest problems, because
they can get deep into your lungs, and some may even get into your bloodstream.
Exposure to such particles can affect both the lungs and heart. Larger particles are of less
concern, although they can irritate your eyes, nose, and throat. (EPA,2003)

   Small particles of concern include “fine particles” (such as those found in smoke and
haze), which are 2.5 micrometers in diameter or less; and “coarse particles” (such as
those found in wind-blown dust), which have diameters between 2.5 and 10 micrometers.
(EPA,2003)

   People with heart or lung disease, older adults, and children are considered at greater
risk from particles than other people, especially when they are physically active.
Exercise and physical activity cause people to breathe faster and more deeply, and to take
more particles into their lungs. People with heart or lung diseases, such as coronary
artery disease, congestive heart failure, and asthma or chronic obstructive pulmonary
disease (COPD), are at increased risk, because particles can aggravate these diseases.
People with diabetes also may be at increased risk, possibly because they are more likely
to have underlying cardiovascular disease. Older adults are at increased risk, possibly
because they may have undiagnosed heart or lung disease or diabetes. Many studies
show that when particle levels are high, older adults are more likely to be hospitalized,
and some may die of aggravated heart or lung disease. (EPA,2003)

   Children are likely at increased risk for several reasons. Their lungs are still
developing; they spend more time at high activity levels; and they are more likely to have
asthma or acute respiratory diseases, which can be aggravated when particle levels are
high. Factors that increase the risk of heart attack, such as high blood pressure or
elevated cholesterol levels, also may increase the risk from particles. (EPA,2003)



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    Long-term exposures, such as those experienced by people living for many years in
areas with high particle levels, have been associated with problems such as reduced lung
function and the development of chronic bronchitis, and even premature death. Short-
term exposures to particles (hours or days) can aggravate lung disease, causing asthma
attacks and acute bronchitis, and may also increase susceptibility to respiratory
infections. In people with heart disease, short-term exposures have been linked to heart
attacks and arrhythmias. In healthy children and adults, only temporary minor irritation
from elevated particle levels may be experienced. (EPA,2003)

   Symptoms from particle exposure include the following: irritation of the eyes, nose,
and throat; coughing; phlegm; chest tightness; and shortness of breath. In those with lung
disease, difficulty breathing as deeply or as vigorously as normal, coughing, chest
discomfort, wheezing, shortness of breath, asthma attacks, and unusual fatigue may be
experienced. In those with heart disease, particle exposure can cause serious problems in
a short period of time—even heart attacks—with no warning signs. Symptoms such as
chest pain or tightness, palpitations, shortness of breath, or unusual fatigue may result
from elevated particle levels. (EPA,2003)

10.1 EPA Standards for Particulate Matter

   The Clean Air Act identifies two types of national ambient air quality standards.
Primary standards provide public health protection, including protecting the health of
"sensitive" populations such as asthmatics, children, and the elderly. Secondary standards
provide public welfare protection, including protection against decreased visibility and
damage to animals, crops, vegetation, and buildings. EPA has set National Ambient Air
Quality Standards for six principal pollutants, which are called "criteria" pollutants.
Particle pollution is one of these criteria air pollutants. Units of measure for the
standards are parts per million (ppm) by volume, parts per billion (ppb) by volume, and
micrograms per cubic meter of air (µg/m3). (EPA, 2012)

   In 2012, the EPA issued a new PM 2.5 primary standard, set at 12 μg/m3 and a
secondary standard of 15 μg/m3 for annual averaging time. A PM 2.5 primary and
secondary standard of 35 μg/m3 was set for a 24-hour averaging time. A PM 10 primary
and secondary standard of 150 μg/m3 was set for a 24 hour averaging time. (EPA, 2012)

10.2 Toxic Responses of the Respiratory System

    Exposure to toxicants via inhalation occurs in all phases of human activity. Inhalation
is the most important route of exposure in the workplace. Industrial atmospheres contain
many gases and particles capable of producing pulmonary damage or damage to other
organ systems when inhaled. (Casarett and Doull’s, 1986) Schwartz, Makepeace, and
Dean (1933) considered air and dust important vehicles in the production of industrial
radium intoxication. Evans, writing in 1943, regarded inhalation of dust from radium
paint at that time as an “even more important” mode of entry into the body than
ingestion, and considered radium dust more toxic than ingested radium because a smaller



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fraction is excreted. He noted that higher burden were often found among inspectors and
instrument workers who removed small chips of dry radium paint than among dial
painters.

10.3 Structure of the Respiratory Tract

   The respiratory tract may be considered as having three major regions: the
nasopharyngeal, the tracheobronchial, and the pulmonary. The nasopharynx begins with
the anterior nares and extends back and down to the level of the larynx. The nasal
passages are lined with vascular mucous epithelium, which is characterized, except at the
entrance, by ciliated columnar epithelium and scattered mucous glands. The
nasopharynx filters out large inhaled particles and is the region in which the relative
humidity is increased and the temperature of the air is moderated. (Casarett and Doull’s,
1986)

   The trachea, bronchi, and the bronchioles serve as conducting airways between the
nasopharynx and alveoli, where gas exchange occurs. The conducting airways are lined
with ciliated epithelium and coated with a thin layer of mucus secreted by goblet cells
and mucus-secreting cells. The surface of the airways serves as a mucociliary escalator,
moving particles from the deep lung to the oral cavities so they may be swallowed and
excreted. The branching patterns and physical dimensions of the airways are critical in
determining the deposition of particles and the absorption of gases by the respiratory
tract. (Casarett and Doull’s, 1986)

   The acinus is the basic functional unit of the mammalian lung and is the primary
location of gas exchange between the environment and blood. Anatomically, the acini
consist of the structures distal to and including the first-order respiratory bronchiole,
which is the first bronchiole with alveoli. The acini, of which there are about 200,000 in
the adult human, include three or four orders of respiratory bronchioles, several orders of
alveolar ducts and alveolar sacs, hundreds of alveoli and associated blood vessels,
lymphatic tissues, supportive tissues, and nerve enervations. (Casarett and Doull’s, 1986)

10.4 Particle Deposition

   The site of deposition of solid particles or droplets in the respiratory tract, along with
their chemical makeup, is important. Particle size is usually the critical factor that
determines the region of the respiratory tract in which a particle or an aerosol will be
deposited. Deposition of particles on the surface of the lung and airways is brought about
by a combination of lung anatomy and the patterns of airflow in the respiratory system.
(Casarett and Doull’s, 1996, 2013)

   The sites of deposition of gases in the respiratory tract define the pattern of toxicity of
those gases. Solubility, diffusivity, and metabolism/reactivity in respiratory tissues and
breathing rate are the critical factors in determining how deeply a given gas penetrates
into the lung. Highly soluble gases such as SO2 or formaldehyde in low concentrations
may deposit in the nose during nasal breathing unless doses are very high and will



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deposit deeper along the trachea-bronchial tree. Very insoluble gases such as H2S
efficiently pass through the respiratory tract and are taken up by the pulmonary blood
supply to e distributed throughout the body. Particles that can penetrate into the alveolar
region can be a vehicle carrying adsorbed toxic gases. Once deposited in the lung, the
adsorbed materials may dissolve from the surface of the particles and enter the
epithelium, endothelium, bloodstream, or lymphatics. Small particles may directly
penetrate cell membranes and evade clearance. (Casarett & Doull’s, 2013)

    The site of deposition of particles in the respiratory tract is determined by a
combination of the physical forces that remove particles from an airstream and the
anatomy of the respiratory tract. The site of deposition affects (1) the severity of the
consequences of tissue damage to the respiratory tract, (2) the degree of absorption of
systemic toxicants, and (3) the clearance mechanisms available for the ultimate removal
of the particles. (Casarett and Doull’s, 1986, 2013)

   Particles having an aerodynamic diameter of 5 to 30 µm are largely deposited in the
nasopharyngeal region by impaction. Particles having an aerodynamic diameter of 1 to
5 µm are deposited in the tracheobronchial regions by sedimentation. The small
particles, generally less than 1 µm, that have penetrated to the alveoli are deposited
primarily by diffusion. Particles in the range of 5 microns and below are deposited in the
alveolar region. Alveoli of the lung are 0.25 to 0.3 mm in diameter. Respirable particles
are ≤ 2.5 microns and can penetrate cells lining alveoli. Additional physiologic or
pathologic factors may act to influence particle deposition. Chronic bronchitis, and
bronchoconstriction from irritant materials, and cigarette smoking, would tend to
increase particle deposition. (Casarett and Doull’s, 1986, 2013; Ross and Pawlina, 2011)

10.5 Particle Clearance

   Lung defense is dependent on particle clearance. Rapid removal lessens the time
available to cause damage to the pulmonary tissues or permit local absorption. An inert
particle that can penetrate to the alveolar region can be a vehicle carrying adsorbed toxic
gases. Once deposited in the lung, the adsorbed materials may dissolve from the surfaces
of particles and enter the epithelium, endothelium, bloodstream, or lymphatics. Small
particles may directly penetrate cell membranes and evade clearance. (Casarett &
Doull’s, 2013)

   The specific mechanisms available for the removal of particles from the respiratory
tract vary with the site of the deposition. It is important to emphasize that clearance of
particles from the respiratory tract is not synonymous with clearance from the body.
Depending on the specific clearance mechanism used, particles are cleared to (1) the
stomach and gastrointestinal tract, (2) the lymphatics and lymph nodes, where they may
be dissolved and enter the venous circulation, or (3) the pulmonary vasculature. The only
mechanisms by which the respiratory system can truly remove deposited particles from
the body are coughing and blowing the nose. (Casarett and Doull’s, 1996)

   Nasal clearance refers to particles deposited in the nose. They are cleared by various



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mechanisms, depending on their site of deposition and solubility in mucus. The anterior
portion of the nose is lined with relatively dry squamous epithelium, and so particles
deposited there are removed by extrinsic actions such as wiping and blowing. The other
regions of the nose are largely covered by a mucociliary epithelium that propels mucus
toward the glottis, where it is swallowed. Particles that are soluble in mucus may
dissolve and enter the epithelium and/or blood before they can be mechanically removed.
Uncertainties still remain about the clearance of particles that are deposited on olfactory
regions or areas that are damaged by acute infection, chronic illnesses, or toxic injury.
(Casarett and Doull’s, 1996)

   Tracheobronchial clearance mechanisms involve the mucociliary escalator,
specifically, the pseudostratified ciliated columnar epithelium of the conducting airways.
The mucus layer covering the tracheobronchial tree is moved upward by the beating of
the surface cilia of the respiratory epithelium. This mucociliary escalator transports
deposited particles and particle-laden macrophages upward to the oropharynx, where they
are swallowed and pass through the GI tract. (Casarett and Doull’s, 1996)
Trachea with lining of Pseudostratified Ciliated Columnar epithelium:

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(Pawlina, 2016)




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Pseudostratified ciliated columnar epithelium (Respiratory epithelium):
Finger-like projections move non-respirable particles up the respiratory tract to be swallowed into
stomach and intestines. (Pawlina, 2016)




   Minutes after particles are inhaled, they may be found in alveolar macrophages. Many
alveolar macrophages are ultimately transported to the mucociliary escalator. It is
possible that macrophages are carried to the bronchioles with the alveolar fluid that
contributes to the fluid layer in the airways. Other particles may be sequestered in the
lung for very long periods, often in macrophages located in the interstitium. (Casarett
and Doull’s, 1996)

10.6 Respiratory Tract Injury

    Airborne agents can contact cells lining the respiratory tract from the nostrils to the
gas-exchanging region. The sites of interaction of toxicants in the respiratory tract have
important implications for evaluation of the risk to humans posed by inhalants. Certain
gases and vapors stimulate nerve endings in the nose. The result is holding of the breath
or changes in breathing patterns, to avoid or reduce further exposure. (Casarett and
Doull’s, 1996) Breath holding increases deposition of particles from sedimentation and
diffusion. Exercise, where larger volumes are inhaled at higher velocities, will increase
particle deposition in the large and smaller airways and alveoli. Quiet breathing in
comparison will facilitate exhaling of some of the particles. (Casarett and Doull’s, 1986)
If continued exposure cannot be avoided, many acidic or alkaline irritants produce cell
necrosis and increased permeability of the alveolar walls. The epithelial barrier in the
alveolar zone, after a latency period of several hours, begins to leak, flooding the alveoli
and producing a delayed pulmonary edema that is often fatal. (Casarett and Doull’s,
1996)




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10.7 International Agency for Research on Cancer (IARC)

    In October 2013, 24 experts from 11 countries met at the International Agency for
Research on Cancer in Lyon, France to assess the carcinogenicity of outdoor air
pollution. Diverse approaches are used to measure air pollution and some countries have
established monitoring networks that typically record levels of regulated pollutants, such
as respirable particulate matter (PM10), fine particulate matter (PM2.5), NO2, SO2, and
O3. PM2.5 is increasingly used as an indicator pollutant, with annual average
concentrations ranging from less than 10 to more than 100 μg/m3 globally. (Loomis,
2013)

   The IARC Working Group unanimously classified outdoor air pollution and
particulate matter from outdoor air pollution as carcinogenic to humans (IARC Group 1),
based on sufficient evidence of carcinogenicity in humans and experimental animals and
strong mechanistic evidence. The findings regarded the carcinogenicity of outdoor air
pollutants as a mixture and particulate matter specifically, are remarkably consistent in
epidemiological research, studies of cancer in experimental animals, and a wide range of
studies of mechanisms related to cancer. Particularly, an increased risk of lung cancer
was consistently observed in cohort and case-control studies including millions of people
and many thousands of lung cancer cases from Europe, North American, and Asia.
(Loomis, 2013 on behalf of IARC)

International Agency for Research on Cancer—Classification: (Volume 109)
   Outdoor Air Pollution                       Group 1 Human Carcinogen
   Particulate Matter in Outdoor Air Pollution Group 1 Human Carcinogen


11.0 Arsenic and Chronic dermatitis

    Arsenic is highly toxic to humans. Evidence from previous studies suggests that the
oxidation state of arsenic and its degree of methylation affect the toxicity of arsenicals.
The iAs (inorganic arsenic, include trivalent AsIII and pentavalent AsV), particularly AsIII
has the highest toxicity and MMA (monomethylarsonic acid( is more toxic than DMA
(dimethylarsinous acid). Arsenic is considered a Category I human carcinogen by the
International Agency for Research on Cancer (IARC). The maximum permissible
concentration of iAs in drinking water, as recommended by the World Health
Organization (WHO) and the US Environmental Protection Agency is 10 ug/L. Subjects
chronically exposed to high concentrations of arsenic in drinking water can develop skin
lesions, including hyperkeratosis, depigmentation and pigmentation. In general, higher
levels of %iAs and %MMA, and lower levels of %DMA in urine elevate the risk of skin
lesions. Similarly, a higher primary arsenic methylation index (PMI, proportion of
methylate iAs to MMA) and lower secondary arsenic methylation index (SMI, proportion
of further methylate MMA to DMA) can increase the risks of skin lesions. (Wei, et al.,
2017)

   Ramos et al., 2008, studied noninfectious dermatological diseases associated with



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chronic exposure to mine tailings in a Peruvian district. A statistically significant
difference between groups of exposed and nonexposed individuals was found for
arsenical dermatitis, nonpruritic papulovesicular eruption, atopic dermatitis, contact
dermatitis, seborrhoeic dermatitis and xerosis. In the pediatric population 71 exposed and
64 nonexposed children were evaluated. Sixty-nine per cent of the exposed group had
some noninfectious dermatological disease vs 30% in the nonexposed group (p<0.001;
OR 6.00 95% CI (2.71-13.31) (Ramos et al., 2008)

    A complete clinical examination of the skin was performed by a dermatologist,
evaluating the presence of noninfectious dermatological disease. In addition, arsenic
clearance was measured in a 24-h urine sample In adults, chronic exposure to mine
tailings is associated with arsenicosis, nonpruritic papulovesicular eruption, xerosis,
seborrhoeic dermatitis, atopic dermatitis and contact dermatitis, while in children it is
associated with xerosis and atopic dermatitis. In the adult population, there is an
association between high levels of arsenic (10,000 mg/kg) in mine tailings and the
appearance of precancerous lesions such as arsenical keratosis. (Ramos et al., 2008)

Statistical analysis of noninfectious dermatological diseases in adult and pediatric
populations exposed and not exposed to mine tailings are as follows:

Nonpruritic papulovesicular eruption p = 0.01 OR = 6.98 95% CI(1.52-32.10)
Xerosis      p < 0.001 OR = 5.03 95% CI(2.45-10.37)
Seborrhoeic dermatitis p = 0.01 OR = 4.17 95%CI (1.60-10.89)
Contact dermatitis p = 0.04 OR = 3.82 95% CI (1.04-13.99)
Atopic dermatitis p = 0.03 OR = 5.26 95% CI (1.13-24.60)

(Ramos et al., 2008)
   Yunus et al ., 2011, presented a review of findings from arsenic and health studies in
Matlab, Bangladesh including Arsenic exposure on the risk of skin lesions. A dose-
response relationship for both genders with arsenic exposure and skin lesions was
reported (p < 0.001). Men had a higher risk of having skin lesions than women:
OR = 10.9 vs 5.78 in the highest average exposure quintile ((p = 0.005)
(Ramos et al., 2008)

   For arsenic metabolism, the risk for skin lesions is almost three times higher in the
highest tertile of %methylarsonic acid compared with the lowest tertile.:
       Adjusted OR = 2.8 95% CI (1.9-4.2), p<0.001)
The study showed gender specific risk for skin lesion, higher risk observed for men
comparing women because of less efficient methylation of As, as defined by a higher
fraction of methylarsonic acid and lower fraction of dimethylarsonic acid in the urine
among men. (Ramos et al., 2008)
(Ramos et al., 2008)




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                                               (Ramos et al., 2008)


   Several in vitro and in vivo studies have shown that DNA repair system is
compromised by arsenic exposure. Keratosis is considered to be the premalignant lesion.
As chromosomal aberrations (CA) in peripheral lymphocytes is proposed to be one of the
most potent surrogate biomarkers for carcinogenic events, hence, we expected that
individuals exhibiting keratosis might be having higher level of CA compared to the a
second study group. Our study found significantly higher chromosomal aberrations
both in the form of % aberrant cell (p < 0.001) and CA/cell (p , 0.001) in the
individuals with keratosis compared to individuals without arsenic-induced skin
lesions. (De Chaudhuri, et al., 2008)

   Wei, et al., 2017, studied arsenic methylation and skin lesions in migrant and native
adult women with chronic exposure to arsenic from drinking groundwater in Inner
Mongolia, China. Odds Ratios are provided that results in urinary concentrations of
DMA, MMA and iAs, and nail concentrations of arsenic were significantly higher in
women with than without skin lesions. The concentrations of arsenic metabolites and
arsenic methylation capacity varied widely among the different groups of women. The
external group had the highest prevalence of skin lesions. Meanwhile, lower
concentrations of DMA, MMA, and iAs and higher arsenic methylation capacity were
observed in the external group. They were more susceptible to arsenic compared to other


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groups.

   Birmingham et al., 1965, presents an outbreak of arsenical dermatoses in a Mining
Community. A variety of cutaneous effects, including eczematous contact dermatitis,
folliculitis, pyoderma, and ulceration was observed. The major cause of these dermatoses
was arsenic trioxide, a by-product in smelting the ore processed for gold production.
Inadequate engineering controls to remove the arsenic trioxide and sulfur dioxide from
the effluent was the cause of the community contamination

   Chakraborti et al., 2016, investigated the distribution of arsenic in groundwater and
the prevalence of arsenic toxicity including arsenical skin lesions. To determine the
number of people suffering from arsenical skin lesions and other arsenic-related
symptoms, surveys were distributed in Shahpur, India. In the Shahpur block all 11 adults
had arsenical skin lesions with another 11 family members having similar lesions.

   The prevalence of the various skin lesions were recorded as follows:
Spotted melanosis on palm = 22%
Diffuse melanosis on palm = 55%
Spotted melanosis on trunk = 78%
Diffuse melanosis on trunk = 76%
Leuco-melanosis = 11%
Whole body melanosis = 46%
Spotted keratosis on palm = 64%
Diffuse keratosis on palm = 47%
Spotted keratosis on sole = 57%
Diffuse keratosis on sole = 48%
Dorsal keratosis = 12
Suspected Bowens = 3%
                    (Chakraborti et al., 2016)




                                                             (Chakraborti et al., 2016)




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                                         (Chakraborti et al., 2016)


   Pigmentation and keratosis are the specific skin diseases characteristic of chronic
arsenic toxicity. The arsenic content of the current water source ranged up to 3,400 ug/L;
however, more than 80% of the participants consumed water with arsenic levels less than
50 ug/L. 100% of 156 arsenicosis patients had pigmentation of the skin and 61.5% had
keratosis from their arsenic exposures in a study in West Bengal, India. (Mazumder and
Dasgupta, 2011)

   Ratnaike 2003, reports that Arsenic exerts its toxicity by inactivating up to 200
enzymes, especially those involved in cellular energy pathways and DNA synthesis and
repair. Numerous skin changes occur with long term exposure. Dermatological changes
are a common feature and the initial clinical diagnosis is often based on
hyperpigmentation, palmar and solar keratosis. The keratosis may appear as a uniform
thickening or as discrete nodules.

   Liao et al, 2011, demonstrated concentration-dependent cellular responses of arsenic
in keratinocytes. Arsenic is known to be cytotoxic because of its chemical reactions with
the thiol group of proteins and its ability to generate free radicals during cellular
metabolism. At low concentrations (≤ 1 uM), As not only induces p53 expression but
also concomitantly increases the p53 inhibitory protein murine double minute (MDM2).
Low concentrations of As promote p53 nuclear export (p53 inactivation) through MAPK
pathway and promoter-mediated expression of human homologue of murine mdm2 in
keratinocytes. This functional loss of p53 in keratinocyte results in impaired apoptosis in
response to UV irradiation or 5 fluorouracil treatment. These findings suggest that a
functional inhibition of As-induced p53 by low As concentrations is able to compromise
the normal functions of keratinocytes against oxidative and genotoxic effects.

   Yamaguchi et al., 2016, reports that Arsenic has been known to inhibit cell
proliferation in in vitro conditions. The mechanism involved in arsenic acid-mediated


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inhibition of cell proliferation using mouse skin fibroblast cell line. The present study
found that 10 ppm arsenic acid inhibited cell proliferation, without any effect on cell
death Arsenic acid induced the generation of reactive oxygen species (ROS), resulting in
oxidative stress to DNA. It also activated the mammalian Ste20-like protein kinase 1
(MST); however the serine/threonine kinase Akt was downregulated. Forkhead box O
(FOXO) transcription factors are activated through phosphorylation by MST1 under
stress conditions. Results showed that arsenic induced the nuclear translocation of
FOXO1 and FOXO3a and altered the cell cycle, with cells accumulating at the G2/M
phase. These effects caused cellular senescence. Taken together these results indicate
that arsenic acid inhibited cell proliferation through cellular senescence process regulated
by MST1-FOXO signaling pathway.

   Arsenic exposure disrupts the redox balance and produces higher level of ROS in
cells, through modulation of intracellular antioxidant activities, such as decreased
catalase activity and increased superoxide dismutase activity, which lead to enhanced
oxidative stress. (Lee and Ho 1995 in Yamauchi, 2016)


Section 12.0 Review of the Pertinent Literature on Arsenic

12.1 Metals

   Metals differ from other toxic substances in that they are neither created nor destroyed
by humans. Metals are the oldest toxins known to humans. Usage began prior to 2000
BC. Metals are redistributed naturally in the environment by both geologic and
biological cycles.




   When discharged in gaseous or fine particulate forms, metal may be transported in the
atmosphere over global distances. (Casarett & Doull’s, 2001)

   Dose is a multidimensional concept. It is a function of time and concentration of the
metal. Metals are cumulative toxins. Every exposure may add to the body burden and
the toxic effects will reflect the accumulation of the metal at the target tissue. The most
precise definition of dose is the amount of metal within cells or organs manifesting a


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toxicologic effect. (Casarett & Doull’s, 2013)

    Biological half-life describes the retention time of the metal. The time it takes for the
body or organ to excrete half of an accumulated amount. Retention time varies according
to the metal as well as the organ or tissue. There is more than one half-life to fully
describe the retention time for many metals. For example: the half-life of lead in the
blood is 35 days; in the bone—20-30 years. (Casarett & Doull’s, 2013)

   Toxicity is determined by the dose at the cellular level, valence state, and ligand
binding. For example: hexavalent chromium is highly toxic but trivalent chromium is an
essential trace metal. Ligand binding is the most fundamental chemical process in metal
toxicity and in cellular defense against metals. For example: thiol ligands (R-S-H) of
metallothionein bind some metals as part of a defense system. Arsenic remaining in the
body after 4 weeks may be bound to sulfhydryl groups (−SH) in keratin-rich skin, hair,
and nails. This is an elimination process. (Casarett & Doull’s, 2013)

   Certain metals can form organometallic compounds which involve covalent metal-
carbon bonds. Organic forms differ in toxic properties from inorganic counterparts. For
example: tetraethyl lead and dimethyl mercury are lipid soluble—readily pass across
biological membranes --can cross the blood/brain barrier. Organic species of metals are
transformed ultimately to inorganic species. Patterns of disposition and toxicity differ for
inorganic and organic forms. For example: methyl mercury is a neurotoxin; mecuric
chloride is toxic to kidneys. Persons at either end of the life span—young children and
elderly people—are more susceptible to metal toxicity from exposure to a particular level
of metal than are most adults. (Casarett & Doull’s, 2013)

12.2 Arsenic

   Arsenic is a steel-gray crystalline brittle metal. There is also an unstable yellow
crystalline form containing As4 molecules, similar to the structure of phosphorus. The
atomic number of arsenic is 33; and the atomic weight is 74.922. (Patnaik, 2002)

    Inorganic arsenic is a potent human carcinogen. The International Agency for
Research on Cancer (IARC) classifies arsenic and inorganic arsenic compounds as Group
1 human carcinogens. Arsenic causes cancers in: skin lungs, urinary bladder, kidney, and
is also associated with cancers in the liver, prostate, and ovaries. Drinking water
concentrations around 10 μg/l are associated with 0.1% to 0.3% cancer risk (1/1000 to
3/1000). There is increased risk with other non-cancer effects: hyperkeratosis, pigment
changes; cardiovascular diseases including hypertension; respiratory effects;
neurological; liver; kidney disorders; and diabetes mellitus. The World Health
Organization drinking water guideline is 10 μg/l. (IARC, 2012; WHO, 2014)

   Arsenic occurs in trivalent and pentavalent inorganic forms. Arsenic occurs in two
oxidation states: a trivalent form: arsenite (As2O3 ; As III; As+3) and a Pentavalent form:
arsenate (As2O5; As V; As+5). Arsenic III is 60 times more toxic than As V. Airborne
arsenic is mostly trivalent arsenic oxide. Deposition in airways and absorption from the



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lungs is dependent on particle size and chemical form. (Casarett & Doull’s, 2013)

   The whole body biological half-life of ingested arsenic is 10 hours for ingested
inorganic arsenic and 30 hours for methylated arsenic. 80-90% of a single dose is
absorbed from the GI tract. Excretion of absorbed arsenic is mainly via the urine. 50% to
80% of inorganic arsenic is excreted in 3 days in the urine. Arsenic has a predilection for
skin and is excreted by desquamation of skin and in sweat particularly during periods of
profuse sweating. Arsenic concentrates in newly forming fingernails and hair. (Casarett
& Doull’s, 2013)

   Arsenic has no known beneficial effect. The average adult consumes less than 1
μg/kg/day of arsenic in the diet. The concentration of metabolites of inorganic arsenic in
urine generally ranges from 5-20 μg/L. Seafood contains organic arsenic. The two most
commonly found organic forms of arsenic in food are arsenobetaine and arsenocholine.
These organic compounds are found in shellfish, cod, and haddock. (See below)




12.3 Transport and Distribution of Arsenic

    After absorption by the lungs or the gastrointestinal tract, arsenic is transported by the
blood to other parts of the body. After exposure to arsenite or arsenate, most arsenic is
cleared from the blood. As a consequence of the efficient biotransformation of both
trivalent and pentavalent inorganic arsenic in vivo, tissue partitioning is somewhat similar
for the different forms of exposure. In humans as well as in most animal species,
exposure to either arsenite or arsenate leads to an initial accumulation in the liver,
kidneys, and lungs. Tissue analysis of organs taken from an individual after death from
ingestion of 3g arsenic (in the form of arsenic trioxide) showed a much higher
concentration of arsenic in the liver (147ug/g) than in the kidney (27 ug/g) or muscle,
heart, spleen, pancreas, lungs, or cerebellum (11-12ug/g). Small amounts were also
found in other parts of the brain (8u/g), in the skin (3ug/g), and in hemolyzed blood (0.4
ug/g). Clearance from these tissues is rather rapid. In contrast, long-term retention of
arsenic is seen in the hair, skin, squamous epithelium of the upper gastrointestinal tract,
epididymis, thyroid, lens, and skeleton. Human autopsy data have also shown high
arsenic levels in the hair, nails, teeth, bone, and skin. (Nordberg et al, volume 2, 4th ed,
2015)
    Animals exposed to arsenic through inhalation or drinking water will have increased
tissue levels during the first weeks or months, but the levels will then decrease even if the
exposure is prolonged. Changes in tissue retention in the case of chronic exposure should
therefore be considered when evaluating biological half-times for arsenic compounds.


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Generally whole body clearance is fairly rapid, with half-times of 40-60 hours in humans.
Three different phases of urinary excretion have been demonstrated in humans after a
single intravenous injection of radiolabeled arsenite, with half-times of approximately 2h,
8h, and 8 days, respectively. After oral intake of radiolabeled pentavalent arsenic, 66%
was excreted with a half-time of 2.1 days, 30% with a half-time of 9.5 days, and 3.7%
with a half-time of 38 days in the three phases. (Nordberg et al, volume 2, 4th ed, 2015)

   Elimination of arsenic from most tissues is complete in 2 to 4 weeks. Arsenic
remaining in the body after 4 weeks is bound to sulfhydryl groups (−SH) in keratin-rich
skin, hair, and nails. Organic arsenic forms found in fish and crustaceans—arsenobetaine
and arsenocholine—are reported as not biotransformed in vivo in humans in many
references. However, there are reports that at very high concentrations, some will be
metabolized in humans; others report metabolism of organic As in humans. Organic
arsenic is excreted completely within 1 to 2 days after ingestion. Blood levels of
inorganic arsenic decline rapidly and are detectable for only 2 to 4 hours after exposure.
Methylated metabolites of inorganic arsenic (e.g. monomethylarsonic acid and
dimethylarsinic acid) are detectable in the blood for more than 24 hours after ingestion.
As arsenic is cleared from the blood, it is distributed to the liver, spleen, kidney, lungs,
and GI tissues, with less accumulation in muscle and nervous tissue. (Casarett &
Doull’s, 2013)

12.4 Dermal Absorption of Arsenic

   Skin absorption of arsenic is very high—33 μg/cm2/hr. Arsenic has a predilection for
skin and is excreted by desquamation of skin and in sweat. Arsenic concentrates in nails
and hair. Mee’s lines (white bands in nails) appear 6 weeks after onset of symptoms of
toxicity. Arsenic affects mitochondria, that is it impairs tissue respiration with resulting
decreased ATP production. Arsenic produces increased H2O2 forming Reactive Oxygen
Species. Arsenic induces metallothionein. It readily crosses the placenta and affects the
fetus. (Casarett & Doull’s, 2013)

  The percent of total body surface area represented by body regions (Casarett and
Doull, 2001) includes the following:

Hands = 6.90% = 1324.8 cm2
Calves = 13.50% = 2592 cm2
Feet   = 6.40% = 1228.8 cm2

   These estimated proportions are from the “50 percentile man” having a surface area of
1.92 m2, ht of 175 cm, and body weight of 78 kg. (Source: Spear et al., 1977) (1 sq cm =
.0001 sq m therefore, 1.92 m2 = 19,200 cm2 )

   Wood preservatives can protect wood from dry rot, fungi, mould and insect damage.
Chromated copper arsenate (CCA) has been used as an inorganic preservative for many
years. However, wood treated with CCA has been restricted from residential uses in the
EU from June 30, 2004, due to its potential toxicity from dermal absorption. CCA-
treated wood is widely used in public parks. CCA-treated wood poses potential health


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risks to the park users, due to easy dermal contact especially when the wood is wet after
rainfall. (Tang Y, et al., 2015) Chromated copper arsenate is no longer used in
residential applications, following a voluntary ban on its use in Canada and the United
States of America at the end of 2003. (IARC, 2012)

   A three year study of metal levels in skin biopsies of whales in the Gulf of Mexico
after the Deepwater Horizon oil crisis was published by Wise and Wise, 2017. Several
metals were reported in the MC252 oil from the Deepwater Horizon oil spill, including
the nonessential metals aluminum, arsenic, chromium, nickel, and lead; genotoxic metals,
such as these are able to damage DNA and can bioaccumulate in organisms resulting in
persistent exposure. The results from this three-year study of monitoring metal levels in
whale skin show (1) genotoxic metals at concentrations higher than global averages
previously reported and (2) patterns for MC252-relevant metal concentrations decreasing
with time from the oil spill. Skin biopsies were collected from free-ranging adult
Bryde’s, pilot, and sperm whales in the northern Gulf of Mexico in the summers of 2010,
2011, and 2012. The precise route and duration of exposure cannot be determined,
because the oil was burned, and metal exposures from the spill could have occurred
through oral, dermal, or inhalation routes and may have lasted for a short time to several
months. Since metals accumulate, the exposure may last for years inside the animal.
Average Arsenic concentrations showed the least changes across years and were the most
consistent across species, with most skin levels observed near 1 ug/g (1 ppm). (Wise and
Wise, 2017)

   Metals from the oil can easily enter the food web by inhalation, ingestion, or dermal
exposure to animals at any trophic level and many metals will bioaccumulate. Many
metals are also sequestered into tissue and can remain there for months to years with the
potential for re-exposure during physiological stress. Metal exposure has been known to
be an important component of oil spills for many years. As the residual oil is degraded or
weathered, the relative concentrations of the metals in the oil are likely to increase or be
released into the environment and incorporated into some other component (living or
non-living) of the ecosystem. (Wise and Wise, 2017)

    The presence of Arsenic and its salts in cosmetics is banned by the EU legislations as
an intentional cosmetic ingredient. Cosmetic products must not contain any of the
following substances: heavy metals such as lead, cadmium, arsenic, antimony and its
compounds as well as mercury and its compounds, except those special cases included as
preservatives in Annex V. The unintended presence of these heavy metals in cosmetic
products is only allowed if it is technically unavoidable under good manufacturing
practice and if the products are still safe for the human health. In accordance with this
unintended presence in cosmetic products in general arsenic may be presence in no
greater amount than 0.5 mg/kg (0.5 ppm or 500 ppb) of arsenic. (Bundesamt fur
Verbraucherschutz und Lebensmit-telsicherheit, 2017)

12.5 Clinical Manifestations of Arsenic

Clinical Manifestations of acute exposure to arsenic:



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   ◼ Immediate to hours: metallic taste, extreme thirst, cough, dyspnea,
      pulmonary edema, nausea, vomiting, diarrhea, abdominal pain, hematemesis
      (vomiting of blood), confusion, seizures, headache
   ◼ Hours to Days: proteinuria, hematuria, hemolysis, jaundice, delirium,
      hallucinations
   ◼ Weeks to Months: alopecia, renal failure, hyperkeratosis, stomatitis,
      sensory/motor neuropathy, encephalopathy
   (Casarett & Doull’s, 2013)

Acute Arsenic Exposure may produce the following:
   ◼ Melanosis (pigmented skin areas)
   ◼ Mee’s lines and hyperkeratosis appear 4-6 weeks after acute exposure
   ◼ Cardiac arrhythmias
   ◼ Cardiovascular collapse
   ◼ Peripheral neuropathy-axon degeneration
        7-14 days with progression within 4-5 weeks;
        Glove and stocking effect; bilateral foot drop
   ◼ Cranial Nerve impairment (e.g. optic atrophy)
   (Casarett & Doull’s, 2013)

Chronic Arsenic Exposure may produce the following:
   ◼ Hematopoietic: anemia (↓RBC)
                   leukopenia (↓WBC)
                   thrombocytopenia
   ◼ Sensory changes-paresthesias
   ◼ Muscle weakness
   ◼ Demyelination
   ◼ Liver injury
   ◼ Peripheral vascular disease-Reynaud’s
   ◼ Blackfoot Disease-peripheral vascular disease causing gangrene of lower
       extremities
   ◼ Teratogenic-malformations in animals
        crosses placenta
   ◼ Cerebrovascular disease and cerebral infarction
   ◼ Diabetes mellitus
(Casarett & Doull’s, 2013)

   Personal interviews and health surveys of tar ball workers, boat captains, and deck
hands conducted between October 2010 and August 2012 were correlated to reveal an
overview of symptoms and diseases that are consistent with the crude oil/dispersant
mixtures to which they were exposed. Symptoms were observed in the following
systems: respiratory, neurological, dermal, urinary, vision, and gastrointestinal.
Completed exposure pathways included inhalation, dermal, and incidental ingestion of
toxicants. Signature signs, symptoms, and diseases consistent with solvent and metal
exposure were observed. Signature symptoms included hyperpigmentation of the skin,
optic atrophy, loss of color vision and discrimination, frequent metallic taste, and
frequent numbness or tingling of hands/arms or legs/feet. In situ burning at the 2010


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Deepwater Horizon/BP oil spill played a significant role in reducing the amount of oil on
the water's surface. There were 411 burn operations conducted during the course of the
response that removed an estimated 250,000 barrels of oil. While both tar ball workers
and boat crews were exposed to contaminants of crude oil and dispersants, burn crews
had additional exposures from airborne combustion products of crude oil in conduct of
their duties. (Williams, P et al., 2016)

    Previous publications have presented superficial accounts of the adverse health effects
and workplace exposures of the BP Oil Spill Workers. The duties of the clean-up
workers varied in the different work groups and consisted of tar ball clean-up workers
and boat workers involved in burning of surface oil, booming of surface oil, and physical
dispersion of surface oil using human-driven boats. The tar ball workers received
extensive dermal exposure and inhalation of particulates laden with metals and other
crude oil constituents as well as ingestion exposure to the constituents of the dispersant-
laden crude oil. The boat workers received predominant inhalation exposure from fumes
of the surface crude oil in addition to dermal and ingestion exposures of the crude oil,
both dispersed and undispersed. Acute symptoms exhibited during the conduct of the
respective and varied work duties were consistent with these variances in exposure
pathways. The peripheral neuropathies of both solvents and metals were observed in
both groups as well as the hyperpigmentation of the skin due to arsenic exposure. CNS
depressant effects of solvents were observed in both groups while working in the conduct
of their duties and afterwards as chronic and/or delayed effects of their workplace
exposures. Patterns were studied only in the tar ball workers to date and revealed vision
problems and optic nerve degeneration consistent with arsenic and toluene exposure,
peripheral neuropathy consistent with metal and solvent exposure, metallic taste of
metals, hyperpigmentation of skin consistent with arsenic exposure, and loss of color
vision associated with solvents, particularly toluene. There has not been a previous study
of the workers that distinguished symptoms and health effects of BP Oil Spill workers
according to their work duties and exposure pathways. This is imperative in
understanding the impact of oil spill exposures on clean-up workers. (Williams, P et al.,
2016)

12.6 Metabolism of Arsenic

    Inorganic As (iAs) is well absorbed from the GI tract. It is distributed throughout the
body and freely crosses the placenta in rodents and humans. Biomethylation occurs in
many tissues and is no longer considered a detoxification process, as trivalent methylated
arsenical intermediates are highly toxic and carcinogenic. Reduction of arsenate (As+5)
to arsenite (As+3) is necessary before methylation can occur. Arsenate is rapidly reduced
to arsenite by glutathione S-transferase omega and/or arsenate reductase. (Casarett &
Doull’s, 2013)

   ◼ First reduced in the blood to arsenous acid (arsenite)
   ◼ Then arsenite is methylated mainly in the liver via a one carbon metabolism
     using S-adenosylmethionine (SAM) as the methyl donor




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   ◼ Arsenic (+3)-methyltransferase (AS3MT) was identified as the main enzyme
     transferring the methyl groups from SAM to arsenic in its trivalent form




                                                           Arsenite is then methylated to
   (Casarett & Doull’s, 2013)                          form intermediate metabolites
                                                       including monomethylarsonous
acid (MMA+3) and dimethylarsinous acid (DMA+3) using SAM as the methyl donor.
MMA+3 can induce malignant transformation of human urothelial cells (transitional cells
of bladder) in vitro. MMA+3 is a highly reactive and toxic intermediate. (Casarett &
Doull’s, 2013)




(Casarett & Doull’s, 2013)



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12.7 Mechanisms of Action

   Arsenic targets a wide range of functional groups in the body. Different mechanisms
can occur depending on the tissue, dose, duration of exposure, and metabolism of arsenic.
Arsenic in its trivalent form (As+3) [forms salts as As+3 called arsenite] is highly reactive,
binding preferentially to sulfhydryl (SH-) groups. Arsenic inhibits numerous enzymes
e.g. DNA repair enzymes, antioxidant-related enzymes. Low doses also induce ROS and
RNS resulting in oxidative DNA damage and lipid peroxidation (It is the process in
which free radicals remove electrons from the lipids in cell membranes, resulting in cell
damage.) Proteins to which arsenite may bind in vivo include: tubulin, estrogen receptor-
alpha, arsenic (+3) methyltransferase, etc. (Casarett & Doull’s, 2013)

   Alterations in DNA methylation patterns, both at specific loci and overall in the
genome, are associated with many different health outcomes. Most of these changes are
observed at the tissue level. DNA methylation may cause disease by silencing genes
through hypermethylation or activating genes through hypomethylation. In many cells
arsenic undergoes mono- and dimethylation mediated by AS3MT using SAM (S-
adenosylmethionine) as a methyl group donor. (Casarett & Doull’s, 2013)

   SAM is needed for the majority of methyltransferases that modify DNA, RNA,
histones, and other proteins that dictate replication, transcription and translation fidelity,
mismatch repair, chromatin modeling, epigenetic modifications and imprinting.
Genomic imprinting is an epigenetic process that can involve DNA methylation and
histone modulation in order to achieve monoallelic gene expression without altering the
genetic sequence. These epigenetic marks are established in the germline and can be
maintained through mitotic divisions. (Casarett & Doull’s, 2013)

   Since the SAM methyltransferase pathway for biotransformation of arsenic overlaps
with the DNA methylation pathway, there may be an imbalanced SAM pool within the
organism. Hypomethylation of DNA occurs in mice with reduced levels of SAM
resulting in aberrant gene expression. Individuals exposed to arsenic in drinking water
had hypermethylation of the whole genome. Arsenic exposure results in both DNA
hypomethylation and hypermethylation leading to aberrant gene expression.

    Arsenic can disrupt DNA methylation. DNA methylation is Important in
carcinogenesis. As-induced DNA hypomethylation and promoter specific
hypermethylation of tumor suppressor genes is consistent with the fact that cancer cells
exhibit promoter hypermethylation simultaneously with wide-spread loss of methylation.
Tumorigenesis and progression of prostate cancer are results of genetic and epigenetic
alterations. DNA methylation in a promoter region is an important epigenetic mechanism
for the downregulation (silencing) of expression of these genes. Many of the silenced
genes encode proteins that are tumor suppressor genes involved in tumorigenesis and
progression. (Casarett & Doull’s, 2013)

  Epigenetics is a normal gene regulatory phenomenon involved in human development
Each cell type in the body is genetically identical but needs to differentiate



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phenotypically to sustain a normally functioning human body. Environmental factors can
impact gene function epigenetically, both positively and negatively. (Casarett & Doull’s,
2013)




   Epigenetic mechanisms of action include alterations in DNA methylation patterns,
both at specific loci and overall in the genome, and are associated with many different
health outcomes. Most of these changes are observed at the tissue level. DNA
methylation may cause disease by silencing genes through hypermethylation or activating
genes through hypomethylation. (Casarett & Doull’s, 2013)




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12.8 Toxication vs Detoxication

    A number of xenobiotics are directly toxic (parent compound), others are metabolized
to the toxic form (metabolites). Both parent compound and metabolites can be toxic and
may or may not affect different target organs. The Ultimate toxicant is the toxic form
that attacks the target; may be the parent compound or a metabolite or both.
Biotransformation to harmful products is called toxication or metabolic activation,


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Detoxication involves a biotransformation that eliminates an ultimate toxicant or prevents
its formation. May have many different pathways to detoxify a toxicant. (Casarett &
Doull’s, 2013)

Reaction of the Ultimate toxicant with the target molecule:




                                        (Casarett & Doull’s, 2013)


Followed by development of toxicity through alteration of the regulatory or
maintenance functions of the cell:




(Casarett & Doull’s, 2013)
   There are three pathways to apoptosis: Mitochondrial insult, DNA damage, Death
receptor stimulation and the cascade of protein and factors that results in apoptosis.
Apoptosis is orderly programmed cell death that prevents proliferation of a cell with


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DNA damage and subsequent malignant transformation. (See below)




(Casarett & Doull’s, 2013)


The Sequence of events in cell death by apoptosis resulting in formation of apoptotic
membrane bound blebs that will be engulfed by macrophages to product an orderly cell
death.

12.9 Apoptosis




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    Apoptosis is a normal cell process used in embryological development to reorganize
tissues such as the webs between fingers in the early fetus. Also a process used in
chemotherapy to remove dead malignant cells. (Casarett & Doull’s, 2013)

    Apoptosis is an active deletion of damaged cells. Cells shrink, Nuclear and
cytoplasmic materials condense and cells then break into membrane-bound fragments
(apoptotic bodies). These fragments are phagocytosed in an orderly process removing
dead cells without inflammation. This is in contrast to necrosis when cells and
intracellular organelles swell and disintegrate with membrane lysis. This is a disorderly
process and ends with cell debris in the extracellular environment.
This cell debris of the necrotic cells attracts aggressive inflammatory cells with an
ensuing inflammation that amplifies cell injury. Dysrepair of DNA, apoptosis, and
necrosis appear to represent different stages of toxicity. When DNA repair mechanisms
fail to cope with the damage, the cell initiates apoptosis. The significance of apoptosis
after toxic cell injury is twofold:
     1. Apoptosis deletes injured cells without an aggressive inflammatory reaction
     2. Deletion of cells with DNA damage prevents their malignant transformation
 (Casarett & Doull’s, 2013)

   Apoptosis is under genetic control. Genetic control of apoptosis involves activation of
the c-myc gene, which triggers passage of the differentiated resting cells from the G0 to
the G1 phase of the cell cycle. The progression to S phase is blocked by activation of
p53, a tumor-suppressor gene. This blockade allocates time for DNA repair—but if the
repair fails, the cell is diverted to the apoptotic pathway. In contrast, the bcl-2 gene ( a B-
cell leukemia oncogene) blocks apoptosis. (Casarett & Doull’s, 2013)




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Section 13.0 Opinions:

Based upon scientifically documented evidence in the scientific literature relevant to
Health effects of Oil Spills, Arsenic and Particulate Matter and the interview of the
six BELO plaintiffs, medical records and health surveys, US EPA MSDS for Corexit
9500A and US EPA MSDS for Corexit 9527A, discovery documents, Federal and
State publications and reports, and established scientific methodology, the following
considerations and General Causation opinions have been made:

1. The scientific literature documents the causal considerations of sufficient
strength of association in clinical and epidemiologic studies and consistency of
repeated observations of an association in different populations; cause and effect of
mechanistic studies and consistency of repeated observations of such in numerous
studies; Dose-response and biological gradients in both animal, in vitro, and
epidemiologic studies; Temporal relationships are documented for exposures and its
biological effects; The associations of epidemiologic studies and the demonstrated
effects of mechanistic studies are biologically plausible and consistent with the
natural history and biology of the damage, disease, and cancer caused by the above
mentioned toxicants; Experimental evidence in animals and in vitro studies
supplement and confirm human studies in causal determination. Therefore, the
following General Causation opinions are rendered:

…..A cause—effect relationship exists between Arsenic (a Group I Human
Carcinogen) and Chronic dermatitis.

…..A cause—effect relationship exists between Particulate Matter, particularly
PM2.5 and PM10, (a Group 1 Human Carcinogen) and Chronic Conjunctivitis,
Chronic Sinusitis, Chronic Rhinitis, and Chronic Rhinosinusitis.

…..The particulate matter of solid particles or droplets in the respiratory tract, on
the skin and mucous membranes containing PM2.5, PM10, arsenic and other
toxicants is pertinent to completed exposure pathways by inhalation, ingestion, and
dermal exposure.

…..The US EPA MSDS for Corexit 9500A documents that 160 ppb of Arsenic is
contained in the dispersant and released in undiluted concentration as listed on the
MSDS sheet.

….. Fugitive Particulate Matter containing aerosols, solid particles, and dispersants
in the atmosphere and breathing zones of workers and residents are documented in
the literature following Oil Spills with subsequent adverse health effects.




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